Case 3:23-cv-01304-BAJ-EWD   Document 144-5   10/24/24   Page 1 of 101




    Exhibit E
Case 3:23-cv-01304-BAJ-EWD   Document 144-5 10/24/24   Page 2 of 101
                          Deleca Reynolds-Barnes
                            September 27, 2024




             U.S. Legal Support | www.uslegalsupport.com               ·
                                                                        YVer1f
Case 3:23-cv-01304-BAJ-EWD   Document 144-5 10/24/24   Page 3 of 101
                          Deleca Reynolds-Barnes
                            September 27, 2024




             U.S. Legal Support | www.uslegalsupport.com               2 to 5
                                                                                YVer1f
Case 3:23-cv-01304-BAJ-EWD   Document 144-5 10/24/24   Page 4 of 101
                          Deleca Reynolds-Barnes
                            September 27, 2024




             U.S. Legal Support | www.uslegalsupport.com               6 to 9
                                                                                YVer1f
Case 3:23-cv-01304-BAJ-EWD   Document 144-5 10/24/24   Page 5 of 101
                          Deleca Reynolds-Barnes
                            September 27, 2024




             U.S. Legal Support | www.uslegalsupport.com         10 to 13
                                                                            YVer1f
Case 3:23-cv-01304-BAJ-EWD   Document 144-5 10/24/24   Page 6 of 101
                          Deleca Reynolds-Barnes
                            September 27, 2024




             U.S. Legal Support | www.uslegalsupport.com         14 to 17
                                                                            YVer1f
Case 3:23-cv-01304-BAJ-EWD   Document 144-5 10/24/24   Page 7 of 101
                          Deleca Reynolds-Barnes
                            September 27, 2024




             U.S. Legal Support | www.uslegalsupport.com         18 to 21
                                                                            YVer1f
Case 3:23-cv-01304-BAJ-EWD   Document 144-5 10/24/24   Page 8 of 101
                          Deleca Reynolds-Barnes
                            September 27, 2024




             U.S. Legal Support | www.uslegalsupport.com         22 to 25
                                                                            YVer1f
Case 3:23-cv-01304-BAJ-EWD   Document 144-5 10/24/24   Page 9 of 101
                          Deleca Reynolds-Barnes
                            September 27, 2024




             U.S. Legal Support | www.uslegalsupport.com         26 to 29
                                                                            YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 10 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com            30 to 33
                                                                                YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 11 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com            34 to 37
                                                                                YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 12 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com            38 to 41
                                                                                YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 13 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com            42 to 45
                                                                                YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 14 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com            46 to 49
                                                                                YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 15 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com            50 to 53
                                                                                YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 16 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com            54 to 57
                                                                                YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 17 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com            58 to 61
                                                                                YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 18 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com            62 to 65
                                                                                YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 19 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com            66 to 69
                                                                                YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 20 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com            70 to 73
                                                                                YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 21 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com            74 to 77
                                                                                YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 22 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com            78 to 81
                                                                                YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 23 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com            82 to 85
                                                                                YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 24 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com            86 to 89
                                                                                YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 25 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com            90 to 93
                                                                                YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 26 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com            94 to 97
                                                                                YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 27 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com          98 to 101
                                                                               YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 28 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 102 to 105
                                                                           YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 29 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 106 to 109
                                                                           YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 30 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 110 to 113
                                                                           YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 31 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 114 to 117
                                                                           YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 32 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 118 to 121
                                                                           YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 33 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 122 to 125
                                                                           YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 34 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 126 to 129
                                                                           YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 35 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 130 to 133
                                                                           YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 36 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 134 to 137
                                                                           YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 37 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 138 to 141
                                                                           YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 38 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 142 to 145
                                                                           YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 39 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 146 to 149
                                                                           YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 40 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 150 to 153
                                                                           YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 41 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 154 to 157
                                                                           YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 42 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 158 to 161
                                                                           YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 43 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 162 to 165
                                                                           YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 44 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 166 to 169
                                                                           YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 45 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 170 to 173
                                                                           YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 46 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 174 to 177
                                                                           YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 47 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 178 to 181
                                                                           YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 48 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 182 to 185
                                                                           YVer1f
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 49 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 186 to 189
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 50 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024




              U.S. Legal Support | www.uslegalsupport.com 190 to 191
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 51 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
                    1993                 21                 4:01
     Exhibits        55:19                91:16              77:11
                    1:22                 24-hour            4:12
 EX 0104 Delec       139:1,3              156:21             77:14
 a Reynolds-        1:55                 25
 Barnes 092724       157:16,17            116:10                     5
  3:18 51:5,6                            25-year-old
  113:24                       2          137:4             50
  139:10                                 27                  182:3
                    2                     4:4               5:58
         1           158:4               28                  138:25
                    20                    78:23
 1                   23:20 37:6          2:00                        6
  51:11              40:9 43:15           156:17
 10                  115:10,12,13        2:02               6
  26:10 71:8         138:21 148:3         4:5 157:17,        173:14
 100                20,000-               19                6:22
  116:6,7,8,9       square-foot          2:42                139:3
 103                 62:16                181:10,12         6:55
  158:5 167:11      20-year-old          2:49                157:16
 104                 27:4                 181:12,14         6th
  51:5,6            2004                 2:57                49:23
  113:24             36:7,11              187:4              123:19,20
  139:10             61:23 64:11,        2:58                158:12
 11:00               21,24                187:9              173:17 174:2
  77:5              2010                                     175:22,25
 11:01               36:11                                   176:11
                                                 3
  77:11,12          2013                                     177:7,13
 11:12               36:12               3
  77:12,14          2016                  114:1 126:2                7
 12:58               7:4 36:14           30
  138:25 139:1       62:11                20:11 72:17       7:02
 13                 2018                  116:21             157:19
  51:4               37:4,5 62:18        300                7:42
 13.067              91:17                69:5               181:10
  78:24 79:4,       2019                 340B               7:49
  13                 37:6                 62:25 64:7         181:14
 13/067             2020                                    7:57
  51:19              37:7                                    187:4
                    2022                         4
 15
  71:8               7:9
                                         4                           8
 17                 2023                  119:6 139:8
  77:20 94:4         51:23                162:7             88
  98:24             2024                 40                  178:15
 18                  4:4 13:20            86:20
  137:3              14:7,23 51:4
                     52:7


              U.S. Legal Support | www.uslegalsupport.com                  ·1
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 52 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
                      184:22             account            achieved
          9         able                   59:15 88:4        55:11
                      9:20 19:6            89:14 93:23      acquired
 93                   39:19 44:24          101:24            46:10
  55:20               50:17 55:5           102:11           acquisition
 9:02                 84:17,18             106:7,19          62:7 63:14
  4:5                 85:22,23             108:11            64:4
                      86:15,25             111:3,6,20       across
                      102:17               112:19            24:23 25:1
          A           103:24               113:3,7           36:2 67:2
                      116:19               161:7 167:6       79:23 80:10
 a-r-n-e-s            132:15,23          Accreditation       83:18 109:10
  5:5                 141:17,23            63:20             123:11 135:1
 a.m.                 142:2 149:24       accredited          142:23,24
  4:5 77:11,14        155:5 156:19         59:12             147:4
 abil-                163:2 168:22       accurate           action
  23:2                184:24               39:17,25          4:10 142:11
 ability            above                  41:9 64:10        149:10,15
  18:13,14            116:22               67:22 121:2       156:25
  19:2 22:18,       absence                132:3 148:23      175:13 184:9
  22 23:3,4,8         132:1,5              167:16           active
  73:6 81:3         absolute             accustomed          137:12
  84:21 85:25         92:16                26:13             168:10
  97:24 101:13      absorb               acetycholist       activities
  105:1               175:16               160:6             43:19 89:24
  108:20,23
                    abstinence           acetyl-             90:3 168:11
  109:5,9,11,
                      48:10                122:2            activity
  15,17 112:16
  113:10,13,14      academic             acetylcholine       96:1,4
  114:23              20:14 59:7           96:11 98:1        97:15,20
  118:3,6,17,         71:9                 101:13,15,17      98:14,18
  21 119:2          acceptance             113:10,11         104:25 120:7
  120:15,24           143:20 162:3         118:13,22,24      124:15 126:7
  121:3,24          accepted               119:3 122:2       132:11
  124:7               59:6 122:11,         125:10            133:17
  126:14,16,17        13,18 134:18         126:13 160:7      150:22
  128:16,18           143:14,17,         acetylcholine       168:11
  129:5,16            22,23,25           s                  acts
  130:6 133:18        144:1                118:20            169:23
  134:7,14          access               acetylcholine      actual
  135:7 140:13        179:5              sterase             45:21 72:6,
  141:11,12         accessible             96:6,7            13 88:5,18,
  143:8 149:16        11:2               ACH                 21 131:12,13
  150:1,24          accommodation          159:25            184:24
  151:5,10          s                      160:1,14,22      acute
  154:10,12           13:5 51:19           161:7             24:10,16
  155:24 156:4      accord               achieve             25:8,12,21
  160:6,24            42:2                 43:12             84:20
  169:23,24


              U.S. Legal Support | www.uslegalsupport.com                  ·2
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 53 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 ADA                 31:3 38:14           154:11 156:4      agreed
  13:5 51:18         42:9 53:15,         affected            41:12 122:9
 add                 16 76:15             29:23              175:7
  49:1 95:16         94:25 95:17          108:24,25         agricultural
  115:4              133:1 154:19         140:18,24          180:20
  127:19,21          166:12              affecting          agriculture
  141:2,3           additions             111:22             148:8
  144:24             19:8                 140:12,13         ahead
  185:5,7           addressed            affects             72:22 106:1
 added               80:19 125:3          97:23              124:25
  16:7 18:12,        151:7 183:11         129:14,16         air
  17,20,25          adequacy              140:15             103:5
  19:6 22:4          88:9 94:2            184:21             104:10,15
  24:19 26:5         180:10,16,21        affinity           air-
  28:8 41:16        adjustment            118:17,19         conditioned
  42:7,10            163:1                121:13,18          104:21
  92:22 93:13,      admission             122:2             air-
  14 95:3            55:5                 125:10,14         conditioning
  99:12,16          adopted               126:13,14          68:2
  115:4 122:22       123:6,9              160:6
  123:2,3,15,                                               akin
                    adoption             affirmatively       26:8
  22 124:5,23                             17:12
  125:6,13,18,       173:8                                  alert
                    adult                afternoon           93:14
  19 126:2,3,                             139:5
  18 127:10,         56:4                                   alerts
                    advanced             age                 178:17
  11,12,19
  134:8,22           57:24 85:20          26:19 84:25       Allegra
                     86:12 169:14         85:15,20           125:12 127:6
  141:7
  148:13,15         adverse               86:1,2,4,8,       allergic
                     83:2 93:6            10,12,15           96:21 156:9
  151:11,14,22
  153:7,10           115:11               111:24
                                          112:9,11,25       allergies
  155:16,17          162:19                                  127:24
  162:8,9           advise                148:5
                                                            allergy
  164:13             68:18               agent
                                          93:14              124:11
 adding             affect                                  allow
  19:4,5 39:1,       12:5,19             agents
                                                             134:2
  7 93:21            22:18 23:2           126:5 133:1,
                                          16 176:17         allowed
  108:9 132:22       27:6 73:6                               55:6 147:14
  133:12             87:6 101:18         ago
                                          13:22 42:19       alter
  141:20             103:21                                  20:22 80:21
  151:15             104:10               70:14 71:8
                     109:11 110:8         75:8 77:3         Alternatively
  184:25
                                          87:5 91:19         11:17
 addition            117:7 118:4
                     126:14              agree              ambulatory
  17:13 18:22
                     128:16               82:15,17           61:1,5,15
  46:15 62:24
  89:14 95:11        129:13,15            83:14 106:6       amend
                     132:8 142:17         121:2,4            8:6
 additional
  18:11,22           149:10 151:5         144:20            American
                                                             59:13


              U.S. Legal Support | www.uslegalsupport.com                  ·3
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 54 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 amount               22:25 23:1           185:2 186:1      Anxiety
  24:16 25:8          69:2 70:20,        antidepressan       136:21
  57:13 102:7         21 94:12,16        ts                 anymore
  103:23 104:9        95:1 96:1,4,         129:12            28:7
  105:15,23           12,17,23           antihistamine      anyone
  129:6,10            97:4,7,11,           127:6 151:19      10:3,20 30:5
  142:9 185:9         23,25 98:13,         154:3,4           31:15 42:12
 analysis             18 99:1,5,         antihistamine       44:11,13
  23:10 111:21        10,12,15           s                   47:16 49:14
  115:16 127:2        101:4,7,9,           118:19            50:4 54:12
  128:8               16,19,20,23          119:11            76:16 107:22
 analyzing            102:6,10             120:2,3,12,       165:6 167:10
  107:5               103:12,18,20         20 121:6          171:23
 anatomy              104:4,25             122:4,11         apparent
  57:23 58:4          106:22,25            123:14            116:24
 and/or               107:4,7,17,          124:23           appears
  18:18 61:12         19 109:25            125:3,5,8,11      131:25
  72:9 81:21          110:9,12             127:1,4           158:10
  83:4 118:4          111:19,22            151:16,25        applic-
  137:22 165:9        112:4,7,10,          152:17,19
                      18,21 113:2,                           29:14
  180:22                                 antihypertens      applicable
                      6,9,17             ive
 Andrew               114:18                                 29:12,15
  31:21                                    142:13            75:25
                      117:21
 Andy                 118:3,11,23,       antihypertens      applied
  56:5,6                                 ives                55:4
                      25 119:1,3
 Angola               120:7,14,24          139:14           applies
  11:17 12:17         121:12,18,19       antimuscarini       79:15 80:9,
  13:13 30:10,        122:5,6,22         c                   10
  11 33:10            124:21               151:22 152:1     apply
  38:9 43:13          125:11,17,22       antimuscarini       59:4
  105:8,9             126:7,21           cs                 applying
  108:3 180:7         127:2,14             152:18            59:20
  181:5               129:23 130:5       antipsychotic      appropriate
 answer               132:2,6,11,          70:13 98:16       5:7 108:6
  7:15,16 8:5,        17,21,22             117:9,12,17       128:12 133:4
  14,21 9:5           133:10,16,17         118:18            165:10
  19:25 21:4          145:17               119:24 120:1      167:13
  23:9 73:17          150:11,22          antipsychotic       171:13,14
  91:24 105:18        152:13             s                  appropriately
  106:10 138:4        155:14 157:6         94:7,8,9          82:13
  172:2 183:24        160:2,3,8,           98:15 99:14      approval
 answering            12,16 161:2,         117:2 127:8,      27:21
  67:21               8,14,20              13
                                                            approved
 answers              175:12             antispasmodic       93:12 122:17
  8:22 28:23        antidepressan        s                   137:3 158:25
 anticholinerg      t                      151:22,25
                                           152:17           approximately
 ic                   117:10                                 7:2,4 15:6
                      184:8,10


              U.S. Legal Support | www.uslegalsupport.com                  ·4
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 55 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
  36:6 38:5         articles             assist              15:8,14
  46:19,22           70:1,3,24            15:22 16:10        91:16
  51:23 64:11        116:20               27:19 68:12       authority
  75:5              articulations        assistants          169:10,12,
 area                163:24               170:12,21,25       17,18,21,23
  37:14 61:3        Ascension             171:6              170:2
 areas               61:7                associated         automatic
  72:2 132:21       asked                 80:9 134:11        84:1,4
 arise               12:23 16:10,         145:19,24         automatically
  100:25             12,24 19:14,        assume              136:8
 Arkansas            23 20:17             8:1 127:24         164:18,20
  66:23              29:24 34:1          assuming           autonomic
 around              53:25 68:16          170:14             86:3
  11:12 12:3,        73:12 75:12         assumption         availability
  4,9,18 13:4,       88:16 180:13         21:2               179:5,9,12,
  8 20:22            184:15              assumptions         15
  22:14,24          asking                102:6             available
  23:21 27:18        4:25 27:13          Atarax              17:16 98:16
  35:18 37:25        67:19,21             125:7 151:19       107:8 129:6,
  42:4,19            70:23 81:13         attached            11 179:17
  46:16 47:7,        88:14 92:10          158:3              182:11,16
  19,20,22           112:23 169:6                            183:15,19
                                         attachment
  48:2,3,7,8,       asleep                78:12,13,15       average
  15 49:7 59:4       121:10               89:8 90:14         137:3,20
  60:8 61:5,8,       156:23               94:4 98:24        avoid
  9,21 62:2,3,      assessment                               8:19
  5,14,21                                attend
                     170:4                54:18 55:5        aware
  63:14 64:3,7      assign                                   7:13 8:10
  68:12,13,14,                            59:1
                     81:9 87:9           attended            13:24 14:4
  15 70:9 72:7       178:8                                   25:22 32:9
  73:20 74:7                              46:16 55:21
                    assigned              57:12 58:24        33:1 69:4,7
  88:10 99:14        45:11,22                                70:18 79:11,
  104:14,17                              attorney
                     49:10 82:12          7:13               17,18,19,20,
  105:12             89:4,20                                 25 80:4,9
  110:6,10,17                            attorney-
                     137:15                                  89:6 123:7
  111:5 112:15       164:24              client
                                          32:21              124:6 134:23
  141:12             168:14                                  144:3,9
  142:13                                 attorneys
                    assigning                                146:2,12,14,
  159:18 178:3       82:7 88:10,          8:11               17 147:20,
  179:7,25           22 116:25           attuned             21,23 148:7,
  183:3                                   26:13              9 153:4
                    assignment
 arrive              80:21               atypical            158:23
  27:11 130:8                             186:2,3            159:17,20,22
                    assignments
 arrived             49:12 90:5          audits              163:23
  182:8              104:18,22            61:21              164:3,10
 article            assigns              August              173:7 182:17
  70:21              81:16 84:6           13:20,21          awareness
                                          14:7,23            24:20 28:11,


              U.S. Legal Support | www.uslegalsupport.com                  ·5
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 56 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
   13,15 124:5       79:4 86:17          behalf              19 135:3,5,
   147:8 169:7       88:23 94:14          4:8,12 6:5,        7,9,15
                     95:25 96:4           23 75:16           136:3,8,12,
                     101:20 103:9        behavioral          15,18,19
         B
                     107:6 116:7          63:16 113:3,       137:7,20,24
 B-L-A-K-E           122:6 128:7          7                  142:16 168:4
  33:20              131:14              believe            better
                     133:25 137:3         23:11 53:22        8:16 95:4
 back
                     150:22               113:23             96:24 100:14
  50:7 56:14
                     166:24               168:21            bicycle
  62:18 77:13
                     167:14              below               26:9,10
  83:8 93:10
                     185:16               122:20            big
  98:3 99:18
  104:7 132:18      basic                Benadryl            115:23
  139:2 141:11       57:22,23,25          96:22 121:11       149:11
  146:16             58:3                 124:11 125:7      bigger
  148:11            basically             151:3,17           50:24
  155:20             97:2 129:9           152:23            bike
  157:18            basis                 155:2,21           26:14,15
  175:18             88:10 96:2           156:3,11,15,      binding
  177:24             109:6 148:25         21                 9:17
  181:13             166:24              Benadryls          bit
  185:20,25          167:3,14,18          120:5              44:8 54:8
  186:13,15          170:19              bend                57:9 68:3
 background          171:7,10             70:15              175:15
  40:14 54:8         180:15              beneficial         bladder
 backwards          basketball            96:16 97:1,        18:24 24:7,
  131:20             137:12               10,19              8,9 25:19
 baked              bathroom             benefit            Blake
  109:22             46:1                 14:16 51:2         33:18,20
 ballpark           Baton                 94:18 96:18       Blanc
  92:12 116:20       60:12,17,19          97:12 111:5        4:7 33:18,21
 Banks               61:2                 171:17            Blanchfield
  4:8               bears                benefits            5:21 7:14,15
 Barnes              77:21                6:6 72:15          31:21 32:19,
  4:4,20 5:5,       bee                   74:25              24 45:2 77:7
  6,12,15 95:9       120:10              best                91:23
  157:21             124:13               31:24 39:23        105:17,25
 Barnes-             155:21 156:1         48:15 83:1         106:9 138:3,
 recommended        Beers                 91:21 92:16        14,20,22
  122:24             110:11,14            106:12,17          171:25
 based               111:24               163:11             183:21
  18:10,17          begin                 185:13             186:23
  19:13 20:11,       11:5 15:16          beta                187:6,8
  12 21:1,13,        49:21 159:1,         104:25            bleed
  22 27:25           8                    133:7,9,13,        100:18
  28:22 29:2        beginning             19,21,25          block
  41:17 68:4         13:21 109:22         134:3,8,10,        98:20


              U.S. Legal Support | www.uslegalsupport.com                  ·6
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 57 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
  101:13,15,17      bodies                 139:1
  105:1 113:10       171:4                 157:12,17                 C
  118:17,19,        body                   181:7,12,16
  22,24 119:2        22:20 26:13,        breaks             cadre
  120:1,4,8,12       14 72:12,14           9:1                110:16
  129:4 130:6        73:2,4,7            brief              calcium
  134:4 139:24       86:21 96:9,           115:5              138:8
  160:7 184:22       11 97:2,6           bringing             139:11,12,
 blockade            103:21                20:14 110:16       17,18,19,20,
  118:13             108:25                116:4              24,25
  129:24             109:20              brings               141:14,22
  132:21             129:3,10,14,          115:18             143:14
  133:25             18 130:5,6            116:11             176:19
 blockades           131:16              broad              calculation
  161:22             132:11                144:16             25:24
 blockage            141:23                150:16,21        calendar
  113:11             155:23                151:8,12           57:14,15
 blocked             156:18                152:6
                     184:24                                 call
  118:8                                  broader              32:12 37:21
 blocker            body's                 29:2 102:18        38:14 39:24
  136:8,15,18        18:13 19:2
                                         broadly              40:2 59:11
  137:7,20,25        22:18 73:6
                                           73:14              63:23 95:8
  168:4              96:20 97:24
                                         broke                100:14 127:9
 blockers            100:19
                                           40:25              184:10
  133:7,9,13,        120:15,23
                     121:3,23            brought            called
  20,21 134:4,                             107:14             4:16 34:1
  8,10,19            129:5,16
                     143:8 154:9,        budget               36:20 45:12,
  135:3,5,7,9,                             62:5               15,16 61:24
  15 136:4,12,       11 160:24
                     184:22              build-out            62:12,20
  19 138:8                                                    110:11
                    books                  62:15
  139:11,12,                                                  166:14
  17,18,19,21        70:1,24             building
                                           120:1              184:4,5
  141:14,22         bottles
                                         bullet             calls
  142:16             182:7
                                           51:17              31:25 38:11
  143:15            bottom
                                         burden             capacity
 blood               51:11,16
                                           98:1               73:15 74:17
  109:18             113:25 139:8
                                         bus                captured
  133:22            boy
                                           45:21              94:19
  134:2,3,5          5:5
                                         busy               cardiac
  136:19,24         brand
                                           64:8               136:20
  139:14             125:6 177:17
                                                              144:21 168:7
  140:3,19           182:17              butyrophenone
  141:15                                 s                  cardiovascula
                    break
  144:18                                   119:10,19        r
                     9:2,3,5
                                           120:19             100:23
 Bluebonnet          54:12,14,17
                                           122:4,10           142:17
  60:23              77:6,7,12
                     120:18                123:14           Cardizem
 board
                     138:11,18             124:22 127:1       142:9
  97:11 109:10


              U.S. Legal Support | www.uslegalsupport.com                  ·7
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 58 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 care                137:21               77:5,11,14         17,19,21,25
  35:14 61:8,        164:11               138:25 139:3       141:14,22
  17,19 64:16        177:25               157:16,19          143:15
  70:7 154:19        178:3,6,14           181:11,14         channels
  164:14             185:4                187:5              139:25
  170:23            case-by-case         certain             176:19
  178:20             128:8 166:24         16:23 17:11       chapters
 career              167:14,18            23:21 24:13        70:2,25
  20:13 70:6         168:22               27:14 29:1,3      characterizat
 caregiver           170:17,19            39:7 48:19        ion
  136:2              171:7,10             69:1 80:18         87:22 103:6
 Carezone           cases                 81:1,3 85:5       characterize
  62:13 64:25        14:4 41:18           87:16 89:24        37:14,16
  74:24 75:17,       73:16 74:20,         98:14,25           73:25 105:6
  20,22 76:4         23 124:3,4           99:4 101:17        126:21 141:9
 Carezone's          138:5 156:4,         124:4 133:24       142:3
  75:24              16 177:19            161:5,20          characterizes
 Carl               categories            166:11             37:18
  14:9 31:19         95:17 120:19         169:20
                                          176:4,10          chart
 carried             123:22                                  61:20 157:23
  179:16             124:22              cetera
                                                            charts
                     160:10 170:8         109:4 147:16
 carry                                    168:11             160:8
  48:5              categorize                              Chelsea
                     125:22              change
 case                                                        15:3 31:21
                    categorizing          20:19 29:15,
  6:7,20 11:11                            22 112:17          50:5
  12:8,21,24         160:9                                  chemical
                    category              156:1 158:23
  13:2,10,19,                             159:2 162:22       19:1 72:13
  25 14:1,2,3,       119:7 126:6                             119:19,22,23
                     128:21 133:7         163:2,9,10
  7,11,14,16,                             164:4,6,9          121:16
  21 15:11,20        138:7 150:9                             184:11,13
                     160:22               166:9 176:22
  18:1 19:12,                             177:14            chemistry
  20 20:3            161:11                                  57:22,23
  30:2,18            175:19              changed
                                          29:21 62:7         58:4 101:21
  33:25 37:21,      Caucasian                                119:21
  24 38:6,19         137:3                79:25 162:25
                                          177:21            chief
  41:5 42:12,       caused                                   34:5 35:8,23
  15 49:19           149:2 161:13        changes
                                          31:5 38:1          36:22 65:20,
  51:9 52:19        caution                                  22,24
  53:20,21           26:6,22              100:23
                                          112:4,8,22        child
  54:4 56:17,       caveat                                   56:5
  18,23 68:23                             175:23,25
                     161:18                                 chloride
  72:2 73:19,                             176:9,12,16
                    ceased                177:8              145:12
  20,22 74:2,        36:13
  24 75:3,10,                            changing           chose
                    center                166:3              185:5
  22 80:22           54:21 61:1
  95:8 105:10                            channel            chronic
                    central               138:8              25:13,16,18
  130:23
  131:11             4:5 22:23            139:11,12,         85:11 87:16


              U.S. Legal Support | www.uslegalsupport.com                  ·8
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 59 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
  88:11,23          classes               14,24 61:5        cognitive
  89:3 156:24         18:16,23            62:8,9 72:5,       100:13
  157:4 178:7,        42:4,6,10           6 84:8,11,12       110:13
  11                  53:7 57:25          86:19 87:2,        112:22
 chronically          98:14 99:5          7,19 89:13         113:3,7,16
  25:6 155:8          119:21              106:19            cold
  156:13,19           126:20              107:11             129:19
 Cincinnati           140:4,5             110:24,25          150:13,17
  59:7,8              142:15              111:15             151:1,5,6,10
  71:13,14,18         164:17              128:3,17           152:20
 circle               175:3,5             135:20             153:9,21,24
  185:20              176:10 185:2        137:19,22          155:13
 circles            classificatio         150:25            collaborative
  119:21            n                     154:14,19,25       176:24
                      126:25 166:2        155:19 156:6      college
 circling
                    cleaned               157:2 163:7,       54:18,21
  56:14                                   16 165:1,8
 circumstance         177:17                                 57:8 59:9
                    cleanest              166:10,17         colon
  137:17                                  167:5 168:17
 circumstances        116:13                                 51:13
                    cleanup               170:5
  85:6 136:14                             172:17,21,23      column
 circumvented         177:20                                 159:25 162:7
                    clear                clinically
  141:20                                                    combination
                      8:12 27:24          16:3 22:9
 claims                                   26:17 85:13        100:2 114:12
  12:7,12,24          68:9 154:23                            154:1 160:14
                                          165:21
  13:2,12 74:5      click                 166:14,18          164:25
 clarify              78:19                                 come
                                          169:1,25
  6:14 14:20        client                170:5              17:21 25:7
  66:6 67:19          65:16 66:7,        close               27:13 85:20
  73:17 122:3         9,11,20,22                             93:8 102:14
                                          120:11
 clarifying           67:15 68:11,        177:12             110:21 136:2
  41:21               12                                     143:5 153:1
                                         clot                185:12
 Claritin           clients               100:18
  121:8               65:14 66:16,                          comes
                      18 67:10           cloudy              89:20 127:5
  126:23,24                               26:25
  127:25              68:19                                  137:6 155:20
                    clini-               CMS                 169:24
  128:6,10,11,                            61:21 110:10
  13,14               166:13                                comfortable
                    clinic               co-                 69:22
 Claritins                                86:10
  120:5 125:12        88:3 89:16                            comment
                    clinical             cochair             38:25 151:12
 class                                    65:17
  120:3 140:6         15:24 19:7,8                           152:5,10
                      20:10 26:17,       cochaired          comments
  142:4,15,17,                            35:15 65:10
  22 144:4,10,        19,24 27:6                             50:11
                      28:22,25           cochairs           commercial
  24 148:12                               36:4
  152:7 160:4         35:12 39:5                             121:7
  184:7,12,14,        58:7,10,17         Cogentin           Commission
  18,25               59:14 60:13,        117:14,17          63:20


              U.S. Legal Support | www.uslegalsupport.com                  ·9
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 60 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 committee          companies            compensation       concludes
   35:16 36:2,3      34:7 35:15           108:22             187:3
   37:9 65:8,11      36:2 65:4           compensatory       conclusion
   66:1 67:7,8      company               102:13 118:8       131:2 136:2
   90:17,18          34:10,11,12,         141:17             153:1
   91:6,11           13,14,17,19         competency         conclusions
   93:21 174:12      35:3,4,5,9,          179:2              27:11 130:9
 committees          23 36:7,10,         competent          concur
   65:4,17 67:9      13,14,16,19,         63:24              40:19,21,22
   135:2             20,23,25            complete            41:8,24
 common              40:5 61:24           18:19 22:3,        133:19
   107:15            62:6,12 76:3         11 54:3 55:2      concurred
   115:15            170:17               95:4 99:8          41:18
   136:19           comparable           completed          condition
   143:19,24         147:24 148:7         55:4               26:17,20,24
   146:6,10,12      compare              completely          27:6 84:8,
   153:24            114:21               8:21               11,12,14,16
 commonly            115:18              completing          86:20 87:2,
   128:22           comparison            114:5              7,19 89:3,14
   142:8,10,23,      147:25                                  106:19
                                         compliance
   24 143:4,5,      compensate                               128:3,17
   14,17,22,23,                           159:3,18
                     84:19,21            compliant           132:19
   24 144:1          85:23,25                                135:20
   145:23                                 140:23
                     86:9,13                                 137:22 151:1
 communicate         97:24 102:17        component           154:15 156:6
   10:20 14:12                            153:20
                     108:18,20                               170:6 172:18
   19:6 30:5,23      109:5,11             164:15
                                                            conditioning
 communicated        112:16              compounding         103:5
   30:3,21,25        126:9,18             133:1              104:10,16
   90:20             128:16              comprehensive      conditions
 communicating       131:16               68:18 106:8,       80:18 81:3
   32:17             133:18               17 107:10          85:11 86:3,8
 communication       134:7,14             110:18             87:6,17
   174:20,21         135:8 140:14        computer            88:11,24
                     141:1,12,23          10:6,10,11,        103:2,9
 communication
 s                   142:2 143:8          14,24              117:8 133:24
   31:4,23 32:1      149:24              conceiving          168:17
                     150:24               100:5              178:8,11
 community
   28:3,4,11         151:5,10            concept             181:4
   29:4 56:12        154:10               110:17            conduct
   122:12,14         160:25               143:11 163:5       58:13
   134:19 153:4      184:24               186:16            conducting
 comorbidities      compensates          concern             134:24
   85:21             73:7                 115:10            conference
 comorbidity        compensating         concerned           10:6
   86:11             130:7                152:4             confirm
                     132:12,15           concluded           10:17 52:9
                                          187:9


              U.S. Legal Support | www.uslegalsupport.com                  ·10
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 61 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 confusing           91:8                contribution         21:9 29:5,7,
   7:21             consulting            40:18               9 35:25
 congestion          58:12               conversation         36:5,17,18
   157:4            contact               15:1,6,13           37:12 42:15,
 congestive          15:2                 41:22 53:8          16 47:14
   84:14            contacted             89:12 98:4          49:16 51:10
 conjunction         13:25 14:6           102:24 104:7        55:15,17,25
   25:20 66:15,     contained             132:19 137:9        56:21 58:24
   23                99:16                141:12 156:3        64:22 65:1,
 connection                               162:20 163:4        6,21 66:17
                    contains                                  67:5,18
   42:15 52:8        78:9,13 79:7         164:25 165:8
   54:4 56:16                             167:9               74:16 75:15
                     92:18 166:8                              78:14 82:13,
   78:6                                   173:13,22
                    content               179:14              14 83:1,12,
 consider            20:2                                     19 88:25
   24:6 25:12                            conversations
                    context                                   91:19,20
   29:24 93:1,                            37:22 41:13
                     6:18 26:23           47:20 163:14        93:17 95:9,
   24 110:15         27:5 43:18,          167:15              11,19,20
   114:25            23 44:3,9                                99:1,6
   184:25            49:1 136:11         converted
                                          126:1               101:1,2
 consideration       165:16                                   102:1 103:10
   87:19 95:10       167:23              cool
                                          22:22 23:3,4        104:6 107:1,
   112:2 124:9,      171:16 174:1                             2,21 111:4,
   14 164:21         176:3,7,22           55:14 97:6
                                          132:9               5,16 117:3,5
 consideration       177:3,15,22                              121:21 122:8
 s                  continue             cooler               123:1,3,4,7,
   108:10            83:6 95:15           182:9               24 124:18,19
   111:2,11          98:10 166:1,        coolers              128:22
 considered          7 177:4              182:8               129:20 132:4
   23:10 86:16       184:23              cooling              133:5 145:2,
   87:7 91:11       continued             134:2               6,21,22
   104:1 110:4       168:10              coordinator          147:21
   112:7 125:24     continuing            60:14               148:14,24
   135:19 186:1      138:12              copied               152:24,25
 considering        contract              32:15               158:6,7
   108:8 168:2       7:7 62:22           copies               160:17,18,25
   172:7             63:22                11:2 38:24          161:1,4,6,9,
 consistent         contracts            copy                 10 165:12
   20:2 79:23        62:1,2               10:9 32:9           166:25 167:1
 consistently       contrast              38:21,22            170:23
   130:25 168:8      114:22               50:9 186:13,        173:14,15
 consult             115:19               14,17 187:7         174:4,5
   107:22,25                             Corizon              178:5,9,13,
                    contribute
 consultant                               65:20,24            18,21,25
                     39:11 40:16
   61:18 64:14,                          correct              179:3,6
                     41:4 42:12
   19                                     5:6,8,9             180:1,4,11
                    contributed                               181:1,5,6
 consulted           40:24                6:11,15,16
                                          8:7 10:15           183:9 185:19
   64:15,16


              U.S. Legal Support | www.uslegalsupport.com                  ·11
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 62 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 correction         course                 95:7,14           156:17,18,24
  62:10 119:9        10:20 11:11           99:17 108:12      181:24
 correctional        20:6 30:2,18          114:23            182:6,7
  29:4 34:6,         53:11 81:14           172:25            186:11
  10,20 35:1,        95:7 165:8          cursory            day-to-day
  5,9,13,19,20       172:6 185:22          49:11             63:5 64:3
  43:25 44:1        coursework           custody            days
  47:18,22,23,       57:20                 74:15 159:7       124:13
  24 48:3,6,17      court                cyproheptadin      deals
  62:24 63:1,8       8:12,15 51:2        e                   100:16
  64:1,11,18,       courtroom              151:17           December
  20,23 65:11        9:17                                    37:4
  66:11 67:2        coverage                                decide
  74:3,8 135:1                                   D
                     61:12,13                                56:1
  143:13            covered
  144:3,9                                D-E-L-E-C-A        deciding
                     73:12 101:5          5:4                115:1
  146:2,7,18,
  21 147:18,22      Cox                  daily              decision
                     5:20 15:3            151:16             27:1,24 87:4
  148:2 163:21
  179:17             31:20 32:15          156:13             136:1
                     45:1                danger              137:16,17
 corrections
                    create                96:9               154:6,25
  11:7,9 23:19
  28:5 30:19         44:9 83:4           dangerous           155:19 163:6
                     95:4 106:12,         159:15            decision-
  33:2,10
  43:15,17           16 107:11           database           making
                     110:18               131:8              111:12,15
  44:22 51:22
  62:19 66:21,       130:18                                  155:10 157:3
                                         date
                     141:17                                  162:23
  23 67:4 70:9                            51:24 52:9
  77:22 78:13       created               91:14,15,16,      decisions
  79:16 102:20       69:24 98:17,         25 92:2,4          86:24 163:7,
  179:15             20 100:1             158:18             9
 correctly           103:17               173:20            declaration
                     106:24                                  16:18 17:7,8
  71:11                                  dated
                    creates               51:4,23            52:5,7,10,
 cough
  150:13             94:20,24                                11,12,21
                                         dates
  153:9,14          creation              15:9,25            53:6
 counsel             91:14 92:3                             declarations
                                         day
  4:24 5:17         credentialed          13:21 17:3         13:7 52:22
  15:2 56:20         169:2                20:13 26:14       declaring
 country            crews                 30:19,25           178:16
  59:5 62:23         147:16               31:1,6,10         decline
  67:3              criteria              38:9 45:10,        100:13
 county              168:2                15,17 49:23        110:13
  43:17 74:3        current               88:19 89:1,        113:16
  146:21,23          16:2,9 18:5          17 121:9          decompensated
 couple              20:25 21:5,          123:18             86:11
  20:9 26:12         8,13,17,21           124:11
  42:18 108:22       22:8 88:9            155:22


              U.S. Legal Support | www.uslegalsupport.com                  ·12
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 63 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 decompensatio      definition            125:24            determining
 n                   100:6,14             156:25             87:9
   100:4            degree                162:24            develop
 decompensatio       54:23,25            depends             62:4 67:15
 ns                  55:6,14,16           122:1 156:7        68:13 81:20
   86:17             57:21 58:14,        deposed            developed
 decongestant        22,24                5:23 6:1,4,        21:22 22:7
   150:12           degrees               9,14,17 7:10       41:15 68:5
 decongestants       57:2 178:15          73:13,17,18        69:7 90:15,
   150:17 152:5     dehydrated            76:11              16,19 94:14
 decrease            149:21              deposition         developing
   23:2 82:24,      dehydration           4:3 7:8 8:4,       23:20 60:7,
   25 97:8           109:4 110:1          8,25 9:24          16 62:3,14,
   110:8 124:17      145:6,8              10:21 74:13        21 72:18
   126:17 129:7      149:9,21             75:6,14           development
   134:5 135:12     dehydrations          76:13,18,19,       17:16 60:4
   150:3 155:24      145:4                22 77:2            63:13 72:7
 decreased          Deleca                187:4,9            90:23 93:4
   86:2 113:14       4:3,15 5:3          depositions         105:4,6,7
   118:3,6           51:3                 76:7               107:20 114:1
 decreases          delivery             depression          122:20
   124:6 150:1       62:17                24:2 117:11        164:12 165:2
 decreasing         Delsym                129:1,2,7         devices
   129:10            153:16              describe            10:23
   148:18           demise                63:5 72:2         dextromethorp
   149:11            82:1                 161:25            han
 default            Dentistry            describing          153:14
   165:6,14          70:13                170:16            diagnose
   167:10           dentists             designated          169:24
 defendant           169:16               11:21             diagnoses
   74:4             department           detail              168:16
 defendants          11:6,8 30:19         20:6 91:7         diagnosis
   15:11 74:1        33:2,10             detailed            84:14
   158:11            43:16 51:22          125:1,12          dialysis
 defendants'         60:16 63:22          149:1              27:3
   56:20             64:18 66:21,        details            dictate
 defense             23 77:22             50:13 90:22        128:11,15,18
   74:14             78:13 79:16         determination       137:22 155:3
 defer               80:11                28:21 29:1        dieretic
   93:10 148:1      departments           162:14             103:22
 define              102:20               167:25             149:25 150:7
   23:13            depend               determine          difference
 definitely          104:13 166:5         108:6 160:3        27:2 80:1
   54:5 68:12       depending             170:4              115:6
   126:16            58:15 68:6,         determined         different
   135:18            15 86:23             84:24 128:3        49:2 54:9
   166:19            107:12               165:9              67:2 68:4,6


              U.S. Legal Support | www.uslegalsupport.com                  ·13
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 64 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
  78:20 87:6         62:8,9 65:20        diuresis            92:6 95:15
  88:13 98:11       discipline            144:17             159:7 178:3
  102:20,22          170:3                149:3,8           doc-
  104:8,24          disciplines          diuretics           17:23
  106:23             59:16                144:14,15,        doctor
  109:10            discrete              20,24,25           5:8 55:16
  114:21 116:2       93:20                145:3,6,7,         57:4,21
  121:17,18,19      discuss               11,14,17,19,       58:14,23
  122:17             15:3                 24 146:3,7,        59:2 91:24
  137:19                                  13 148:11,         105:18
  142:15            discussed
                     39:15 48:14          12,20,21,22        106:1,10
  149:4,6,15,                             149:2,4,20         138:4 172:2
  16 156:3,5         52:12,14
                     74:20 76:6          division           doctors
  157:3 161:6                             62:11 63:8         169:6
  166:19             108:18 114:9
                     118:14 131:3        dizziness          document
  168:16,17                               100:13             13:1 17:14
  169:7,9            158:20 173:9
                     184:3               DM                  50:20 52:1
  177:16 184:9                            153:16,19          53:15,16
                    discussing
 differently                             Doc                 68:18 77:16,
  26:15 48:20        27:8 56:15
                     75:1 126:20          5:6 11:6,22        19 78:4,9,
  137:2                                   15:24 16:10,       12,19,20,22
                     167:18 174:3
 difficult                                12 18:19           79:1,2,3,7,
  86:13 126:8       discussion
                     48:6 135:19          19:7 21:7,         14 91:14,16
  145:13,15                               12,13,21           120:22
  149:23            discussions
                     42:4 159:17          22:5 27:10         158:3,6
 difficulties                             28:13,20,24       documentation
                     173:16
  50:20 113:20                            29:7,9,12,15       16:18
                    disease
 difficulty                               30:5,13           documented
  100:21             23:22 24:10
                     25:13,17,18          40:17 43:8,        168:13
 dihydropyridi       26:20 162:4          10 53:11          documents
 ne                                       62:2 67:23         13:3,4 15:18
                    diseases
  139:18,23                               70:13 78:10        16:6,20,23
  176:19             86:4                 79:24 80:14,
                    disorder                                 17:2,17,19,
 dilation                                 21 83:19           23 53:10
                     48:1,9 49:8          89:25 91:11
  134:1                                                      54:3 56:15
                     117:16               95:11 122:25
 direct                                                      114:19
  4:18 64:1         disorders             123:6,11           160:9,21
                     94:8,10              141:3 143:2
 Directive                                                  Docusign
                    dispensed             148:22
  78:24 79:3,                                                50:7
  13                 28:20                173:10            doing
 directives         dispute               174:10,18          13:16 40:8
                     6:24 7:6,7           175:18
  13:6 51:19                                                 61:20 81:11,
                     76:2                 178:8,16           18 87:12,13
 directly
                    dissertation         DOC's               109:14
  32:4 40:7
                     58:19,21             16:24 17:15,       123:25 140:2
 director                                 16 21:8,17
  35:10,24          distribution                             148:16
                     70:9                 29:20 52:16        159:15
  60:13,18                                53:18 90:17


              U.S. Legal Support | www.uslegalsupport.com                  ·14
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 65 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 DOS                 26:3 28:12           123:15             10 164:19
  169:13             41:16 42:4,6         125:17,22          165:7,13,15
 dosage              60:6,8 93:3,         126:3,6,10,        166:3,7
  157:7              6,12 96:12           15,24 132:23       167:12,20
 dose                97:5,7,18,19         137:1 138:8        168:9 170:18
  128:6 136:23       98:14 101:21         142:5,17,22        171:8,23
  137:7,11           104:1 108:24         143:7 144:4,       172:8,11,16,
  155:22             112:19,20            10 150:9,10,       21,22 173:1
  156:3,19           113:4,8              15 151:13,24      duty-status
  168:4              115:10 116:8         152:1,22           85:7
 dosed               120:1 122:6          153:6 154:7,      dysfunction
  156:12             132:19,22,25         9 156:13           120:14,20
 doses               136:20               160:4,21
  136:22             137:2,21             161:5,20,21
                     153:15               164:13,17                  E
 dotted              154:16               165:6 167:10
  63:17              156:2,25             176:1,10          e-mail
 download            157:1,6,8            185:1              32:2 37:23
  186:7,8            161:3,11,14                             38:22 173:21
                                         dually
 downloaded          164:16                                  175:1
                                          168:24
  186:12             171:23                                 e-mail's
                                         due
 doxylamine          177:21                                  173:23
                                          133:18
  151:19             184:3,4,7                              e-mails
                                         duly
 draft               185:13                                  31:25 32:3,
                                          4:16
  49:22,25          drug's                                   12,18 38:18
                                         duration            39:8
  50:6               113:10               102:9 157:7
 drafted             171:21                                 earlier
                                         duties              33:24 41:7
  49:25             drugs                 12:16 29:21        56:15 75:1
 drafting            18:19 19:5          duty                83:10 85:8
  49:21,23           21:20 23:10          29:21 45:13,
 drafts              26:5 27:8,                              94:6 102:19
                                          23 81:1            103:7 108:18
  50:4               14,15,20,25          84:10 85:17
 Drew                28:1,2,6,10,                            131:3 161:19
                                          86:14 87:9,        168:3 181:19
  5:21 138:13        18,20 29:2,3         21 89:4,20
 drinking            69:2 70:20,                            early
                                          99:25 100:1        15:8,14 37:7
  149:13 150:1       22 93:1,11,          114:2,6
 drive               21,23 94:25                            easiest
                                          116:23,25
  154:15 155:9       95:11,14,17                             115:8
                                          127:25
                     101:12,14,17         128:1,2,7,        easily
 driver
                     102:16               11,18,19           94:19,20
  27:16
                     103:19               135:16            Edelman
 drives              108:9,15
  22:23                                   136:9,13,16        38:16 39:25
                     111:12 116:6         137:18,22          40:3,7,16,23
 driving             117:13                                  41:4,12,14,
  27:20                                   151:1 152:15
                     118:16 119:7         154:15             23 42:1,6,11
 drug                120:3,8,14,                             107:23
  16:25 18:16,                            156:2,5
                     19,23 121:3          162:18,22,        Edelman's
  24 24:21,24        122:16                                  40:14 41:7
  25:24,25                                24,25 163:2,


              U.S. Legal Support | www.uslegalsupport.com                  ·15
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 66 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 edits              elderly              ensure             et
  50:11              110:12               114:6 159:2        109:4 147:16
 education           112:3,8,24           171:10             168:11
  159:11             113:15              entailed           evaluated
 educational        electrolyte           16:5               162:13
  158:21 159:9       145:13,15           entering           evaluating
  162:8 164:7,       149:17               74:8               87:20 106:24
  15                electrolytes         enterprise          107:4
 effect              149:10               63:12             evaluation
  22:23 59:23        150:5,6             entire              107:11
  73:2 79:8,21      elicit                79:24 182:11       130:16
  83:15,18           129:3               entirety            137:19
  97:2 101:24       eligibility           49:25              167:22
  102:14             6:7                 entities            168:23
  121:5,14          eliminated            67:2,9 144:3       170:17
  122:5,6            81:3                 146:3             evasive
  129:19,23         emergency            entitled            68:5
  130:5              37:15 179:19         51:18 139:10      evenly
  131:15,16         emphasizing                              147:5
  135:25                                 environment
                     118:10               45:23 101:25      event
  140:5,7                                                    25:12 83:3
  141:16 154:9      employed              102:3,4,7
                     30:5 36:17           103:2              93:7 94:13
 effective           60:12 171:2          105:14,22          115:11
  150:2                                                      149:23
                    employee             environmental
 effectively         6:20,21,25           103:14             162:19
  19:6               34:11 35:4,5                           events
                                         envisioning
 effects             36:25 37:5           170:19             11:12 93:6
  21:20 58:7        employees                               eventually
                                         equal
  72:15 103:21       34:12                                   34:25
  112:19                                  95:1
                    employer             equipment          everybody
  113:4,7                                                    68:7
  121:17             6:5,8,19,24          179:5 180:10
                     7:6 35:22           equipped           everyone
  137:11                                                     30:20 59:4
  145:21 152:2       75:17                183:8
                    employment           ER                  122:14
 efficacy                                                    158:23
                     60:10 137:13         37:12
  179:25                                                    evidence
                    encounter            ER-TRAINED
 either                                                      20:19
  23:17 24:9         88:3 89:16           34:5
                    end                  err                exact
  25:5 37:22                                                 15:9 47:3
  45:18 54:24        8:8 13:21            172:10,19
                     37:6 39:6                               102:2
  61:11 75:7                             erring              158:17,18
  81:2 96:10         58:16 176:5          171:22
                     177:13                                  173:20,25
  116:4 137:21                           error
  147:6,12          engagement                              exactly
                                          159:14             37:7 68:23
  149:7 163:9        53:11 54:4          essentially
                    enhance                                  77:5 82:9
 elaborate                                166:2              163:3 176:25
  96:5 111:8         94:21               estimate
  186:5                                   5:25


              U.S. Legal Support | www.uslegalsupport.com                  ·16
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 67 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 EXAMINATION        expansion             176:18             16,19 102:20
  4:18               162:4               explaining          104:9 135:2
 examples           expec-                176:21             143:13 144:9
  81:4 126:22        171:12              explanations        146:2,7,18,
  153:11,19         expect                38:25              21 147:10,
  154:6              20:1,4 112:5        exposed             18,22 148:2
 exception           183:25               84:18 89:25        170:13,14
  9:4 95:19,20      expectation           96:15 102:8,      facility
  98:9 118:2         19:24 49:2           12 105:15,23       25:15 29:6
  166:11,21          106:18 169:4         106:3 108:19       35:13 43:20
  167:13,19          171:12               118:7 141:24       44:1 46:15,
  168:12,18          172:16,20            143:8              18 48:8 49:7
  171:8             expended             exposure            64:17 66:11
 exceptions          162:4                23:7,8             74:3,8 80:10
  166:23 167:2      experience            85:22,23,24        89:24 102:21
  170:18             4:7 72:17            97:24 100:1,       103:3 104:8,
 exchange            92:11 135:1          2 102:9,16         9,12,16
  38:18              137:5 143:3,         135:7              111:7 137:6,
 exchanged           12                  express             15 148:5,6
  32:3,11                                 163:24             168:12 180:3
                    experiences
 exclude             49:15                174:23            fact
  154:6                                  extent              6:12,14 22:9
                    experiencing                             28:9 87:12
 excluded            134:16,20            76:6 180:17,
                                          25                 117:20
  154:5             expert                                   145:23 146:1
 exclusions          6:15 10:7,9,        extrapolate         164:3,11
  153:22             13 11:22             142:18
                                                            factor
 excuse              14:1,7,10,16        extreme             103:19
  4:20 87:8          15:11 19:20,         85:22 96:15        126:11 182:1
  160:21 161:9       22 20:2 32:7        extremely
                     33:25 39:12                            factors
 exercise                                 142:10             25:23 101:24
  86:25              40:24 49:18         extremities
                     51:3 72:1,24                            103:14,20,25
 exertion                                 140:9              104:5 111:11
  84:15 180:6        73:1,9 76:14        extremity
                     139:9 180:13                           Fahrenheit
 exertional                               140:8              178:15
  105:2              183:14              eyes
                    expertise                               failure
 exhibit                                  96:21              84:15,19
  51:5,6 77:20       15:4 19:24
                     37:14 40:14                             137:21,25
  78:23 94:4                                     F           144:19
  98:24 99:17        72:3 73:8
                     92:11 180:25                           fair
  113:24                                 facilities          8:2 13:24
  139:10            explain
                     20:7 21:16           29:9,13            33:24 52:20
  158:4,5                                 35:19 43:9,        53:12 66:25
  167:11             29:17 35:6
                     83:21 85:17          11,17,23           78:9 87:22
 exist                                    46:1 47:23,        88:11 103:6,
  142:14             99:21 101:10
                     133:14               25 61:19,20,       11 105:14,21
 existing            139:20               21 62:24           111:10 128:5
  95:18                                   63:1 64:1,         129:15 133:9
                     147:25 154:6


              U.S. Legal Support | www.uslegalsupport.com                  ·17
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 68 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
  134:10 145:4       25 175:2             77:9 138:12,       59:21 60:1,3
  147:17 159:4      feel                  14,20              98:12
  170:10 178:6       44:3,18             finished            116:13,24
  184:10             96:24 109:25         8:21 59:2          147:12
 fall                135:22              first              focuses
  121:10             184:23               4:16 5:3           59:14
  156:23            feeling               13:19 14:6,       follow-up
  184:7,14           108:13               19,20,25           173:19
 falls              fell                  18:2,4,8           174:25
  19:23 184:12       98:14                33:20 38:17       followed
 familiar           felt                  42:19,21,23        112:3 158:25
  33:3,6,17,         16:13 99:11,         51:17 57:2        following
  18,22 40:2,        15 174:18,19         59:10 64:10,       31:1 88:18
  10 83:10          female                13,20 100:7,      follows
  184:4              56:6                 12 108:16          4:17
 family             fexofenadine          111:16,24         forced
  56:8               127:6                114:3 123:13       172:20
 fan                                      136:17
                    field                 179:5,7           forgive
  56:5               56:1 105:21                             5:16 69:11
 far                 182:9,10            first-year
                                                            form
  16:16 53:8                              59:11
                    fields                                   91:23 105:17
  74:21 80:8         105:16              five                106:9 138:3
  87:22 135:22       181:1,4,18,          38:7,9             172:1 183:21
  147:20,21          24 182:5,22         five-minute        formally
  153:4 167:16       183:1,5,16,          77:6 157:11        15:10
 farm                20                  flight             formatting
  12:17 13:13,      fifth                 96:7               177:20
  14,15,18           43:1                Florida            forms
  43:20 44:5,       fight-or-             60:22              148:20
  21 45:12,21       flight               fluid
  46:16 49:10,                                              formularies
                     96:7,14              103:22             62:3 143:6
  15 67:24           120:8                144:18
  68:1 81:5                                                 formulary
                    final                 149:3,17
  90:2 103:4                                                 16:25 17:16,
                     176:6               fluids              21 27:10,16,
  104:15,18                               109:15,16,17
                    finalized                                17,18,19
  105:12,16,21                           flush
  108:17             32:8                                    53:23 93:1,
                    finally               96:20              22
  147:15,19                              focus
  148:8 180:6,       62:10                                  formulations
                    financially           12:17 18:10        154:4
  11 181:4                                28:16 53:3
 FDA                 4:10                                   forth
                    find                  98:7 116:4         72:1
  93:13 122:17                            117:20
 federal             69:24 115:24                           fortunately
                     130:23,24            147:4,8
  43:17                                   177:24 178:2       69:8
  146:20,22          131:5                                  forward
                    fine                 focused
  147:10                                                     174:12,15
                     45:2 54:12           12:9,13
 feedback                                 21:18 53:6         177:1
  9:10 174:24,       65:9 72:23


              U.S. Legal Support | www.uslegalsupport.com                  ·18
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 69 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 found              functionally         getting             141:11
  134:21 170:2       79:13                26:9 49:12         165:20
 foundation         functioned            161:24            going
  183:22             80:8                give                19:2 25:16
 four               functions             8:6 9:21           26:11,14,18
  46:21 57:17,       82:9 86:12           30:20 50:11        32:20,21
  18                 100:20               110:20 115:5       39:20 44:4
 four-year          furniture             116:5,19           49:12 50:15,
  58:2               104:21               126:16,22          16,22,23
 fourth                                   127:5 153:22       51:5 54:7,
  76:12                                   158:17             11,13 55:21
                               G          165:16             61:19 67:23
 frame
  36:6                                    166:19             69:1 73:6
                    Gamble                172:21,22          77:10,16
 framework            33:16 90:25         177:3 184:18       78:18 83:8
  109:19            gamut                                    92:25 93:5,
                                         given
 Franklin             131:10              48:18 88:1         16,17 94:22
  10:2              gave                                     95:13 96:11
                                          122:15 124:4
 frequency            8:5 13:1            133:4 137:17       98:21 99:17
  18:11,17            25:4 136:18         159:19 162:6       100:8,22
  21:20,23            154:5               167:12             101:3,6
  27:12,17,25       general               169:13 170:2       102:8 104:7
  28:16 29:1,3        24:4 60:12,         180:14             106:18 108:9
  92:8 109:4          18,19 82:23        giving              110:2,21
  185:3               137:24                                 113:18,25
                                          9:18 38:21
 frequent             142:23              161:18             115:8 122:14
  23:22               170:16              176:2,7            123:10
 frequently         generality           gland               124:10,14
  22:3 23:14          170:10              120:14,20          133:13 136:4
  24:6,14,22        generally             121:25             138:12,15,24
  25:5 27:10,         57:20 108:10       global              142:12
  14 28:2,6           133:21                                 148:11
                                          116:4,11
  92:12 108:21        169:13 170:7                           155:9,23
  117:15                                 gloves              156:4 157:2,
                    generation            45:18
  182:14              127:10,12                              10,11,15,21
 Friday                                  goal                159:3 163:8
                    generic               18:15 80:17
  4:4 42:21           177:17,19                              171:25
  123:19                                  81:8,18,20         172:21,22
                    genetically           106:16
 front                137:1                                  177:25 181:9
                                          108:18             186:8
  9:18 95:25        gentleman             109:14            good
 full                 38:16               114:13
  5:2 56:23                                                  4:20 27:4
                    geographic            185:12             54:15 77:6
  76:6 148:12         147:3,8            goals               119:13 139:5
 full-time          geographicall         80:14
  64:20                                                      158:21
                    y                    goes               grabbed
 function             146:25              34:17 59:5
  82:6 86:18                                                 153:25
                    get all               98:3 100:9
  97:3 100:22         54:25               132:18


              U.S. Legal Support | www.uslegalsupport.com                  ·19
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 70 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 graduate            35:19 137:5          61:12,13,17        102:7,8,12,
  55:12              170:20               77:23 78:25        16,22,23
 graduated          handles               81:23 82:1,3       103:11
  55:18 57:10        137:4                128:4 135:17       104:2,3,11
 granted            hanging              hear                105:15,24
  124:2 165:7        156:17               9:8 96:8           106:3 108:19
 granting           happen               heard               109:12
  167:20             16:3 69:8            40:4               111:13
 great               86:8,12             heart               112:16
  9:10 50:19         129:2                84:14,19           113:1,14
  55:18 113:23      happened              109:3              114:1,6,14,
  121:6              14:25 149:24         133:22,24          16 115:2
                     176:22               137:21,25          116:23,25
 greater
                     186:9,10             140:7,15,25        118:7 122:24
  20:6                                                       123:5,15,22
 greatly            happening             144:19
                                         heart's             124:7,17
  136:23             118:18                                  128:1,18
 Griffith           harm                  105:1 109:17
                                          141:16             130:3,9,13,
  56:5,6             82:1                                    14 131:22,24
 ground             harvesting           heat                132:1 134:11
  7:11               105:12               14:18 17:14        135:4,6,7,9,
 grounds            HCP8                  18:14 19:3         15 136:5,8,
  79:15              77:23 78:1           22:16,19,21        13,16 140:14
                     79:13 83:8           23:8 51:19
 group                                                       141:18,24
                    head                  52:5,12,15         142:4 143:9,
  86:7 127:9                              53:3,17
 guaifenesin         8:15 26:11                              16 144:4,25
                     76:23                66:3,7,16          145:20,25
  151:9 153:12                            67:1,13,17,
 guess              headaches                                146:3,7,11,
                                          24,25 68:7,        16 148:13,23
  70:11,23           136:22               19 69:13,21
  102:5 124:25       137:8,11                                150:3 151:6
                                          70:17 72:25        152:14 153:7
  160:20             168:5                73:3,4,7
 guide              heading                                  154:10
                                          78:10,14,25        155:25 158:8
  111:12             119:6                79:8,21,22
                    heal                                     160:13,25
 guided                                   80:14 83:9,
                     97:2                                    161:4,6,9,17
  171:22                                  14,22 84:6,
                    health                                   164:19
                                          10,17,18           165:7,13,14
                     34:6 54:21           85:23,24
         H           60:12,20                                167:12,20
                                          87:21 88:22        170:18
                     61:7 63:16,          89:4,20
 half                                                        171:7,21
                     22 64:18             90:1,13
  54:12 138:10                                               173:1 178:3,
                     65:23 82:21          91:22 92:13
  146:14                                                     16 184:19
                     90:8 124:17          93:9,19,23
  156:14                                                     185:1,10,16
                     135:11,13            94:3,13 95:2
 handful             148:16 159:6                           heat-duty
  32:3                                    97:5,20,25
                     171:10               98:23 99:3,        12:3,6,10
 handle             healthcare            20,22,23,24        15:23 17:15
  137:1 156:5        28:4 34:10           100:1,2,6,         18:3 31:1
 handled             35:5,9,20            14,19,24           44:7 68:8
                                                             80:20,24


              U.S. Legal Support | www.uslegalsupport.com                  ·20
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 71 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
  81:9,16           helping               142:16             61:6
  82:7,12            61:11 62:4           160:16            hospitals
  83:25 85:14        68:13               highlighted         58:12 63:16,
  88:10 89:9,       helps                 176:1,21           17,21
  22 90:4,7          156:23              highly             hot
  124:2,4,12        Hey                   21:18 69:2         103:4
  128:13,15          132:8                94:12,16           129:18,21,24
  133:4 136:6       high                  96:23 99:9         134:1
  138:1 162:13       12:12 17:25          109:25            hour
  164:21,24          20:7 21:23           110:12             54:11
  165:10,22          24:22 57:10          112:3,7,10         138:10,17
  168:14 178:8       60:9 93:8,23         122:13            hours
  183:10             98:13,25             132:2,6,17         138:17
 heat-illness        99:5,11,14           133:16            housing
  99:25              102:16               137:12             45:11 46:6,
 heat-               118:2,19            hinder              7,17,19,21
 precaution          127:12               18:13              48:9,11,13
  85:17 88:23        133:10,17,22        hired               49:8 68:2
 heat-related        136:19,24            34:23             huge
  12:16 14:15        141:1,15            histamine           56:5
  21:24 22:14,       142:10               120:4,9,12        human
  17 24:18           145:4,8             historically        63:23 124:16
  29:21,25           161:12,17,           162:5              135:11
  85:5 97:16         18,25               history             148:16
  98:9 101:1        high-                 60:10
  110:7 114:16                                              hydroxyzine
                    anticholinerg        hit                 151:19
  115:11            ic
  117:22,25                               120:11            hypertension
                     152:24
  130:18                                 hold                137:20,25
                    high-heat             5:7                141:15 168:6
  134:16,20          154:11
  135:6 137:18                           holes              hypertensive
                    higher                16:8               137:10
  141:25             94:24,25
  142:19 156:5                           home                140:21
                     97:15
  185:5,14           101:12,15            10:2 56:11        hyphen
 heatstroke                              hometown            5:5
                     102:12
  100:11,16          107:12               56:11             hypotension
 heavily             112:24              honorable           134:6
  94:6               120:24               56:9              hypotensive
 heavy               121:12,13           honorific           140:21
  153:25             145:5,9              5:7               hypothalamus
 held               highest              hope                108:24 110:9
  62:1               97:25 98:2           43:12 106:14       118:5 120:17
 hello               101:14              hormone             121:21,23
  49:11              117:21               96:8               129:13,16,
 help                118:10,12           hospital            18,20 131:15
                     119:2,3              58:11 59:7,        132:8 184:21
  68:23
 helpful             126:1,4              8,13 60:3,5,
  161:23             140:12               15,22,23,24


              U.S. Legal Support | www.uslegalsupport.com                  ·21
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 72 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
                    impact               in-person           12,16 24:20
         I            111:19              31:11              53:2 82:1,18
                      121:23 143:8       inability           85:1,4,15
 i.e.                 150:3               85:11 100:19       110:1,13,22
   12:16 18:14      impacted              118:7 141:1        111:1 112:8
   82:19 84:14        104:5 157:7        inaudible           120:23
   90:1 97:13       impacting             12:20              129:14,17
   100:4 103:22       160:24             incarcerated        134:15,19
   104:14           impacts               23:18 49:9         135:4 140:19
   118:25             111:3               142:24             143:15
   126:11 129:8     impair               incarceration       144:17 154:2
 Ideally              120:15 121:3        137:13             161:3 185:16
   92:17              144:21             incidence          increased
 identical          implement             24:22 25:1         14:17 19:3
   79:13 80:7         165:11              185:14             22:15,22
                                                             23:5 24:17
 identificatio      implementatio        incidents           52:14 87:17
 n                  n                     24:1               97:6 98:20
   51:6               158:22             include             100:3 109:3
 identified           159:12,16,          27:24 64:6         117:24
   152:22             18,21               84:9 98:25         122:21
 identifies           162:11,16           99:4 109:7         124:20,24
   81:15              164:6 166:6         112:9 115:1        125:10
 identify             172:14,15           127:5 146:3,       130:21
   80:17 81:8         173:8               6,13 148:22        134:11,12
   125:16           implemented           151:25             140:13,16
   126:20             123:11              152:16             141:8,25
   135:24             158:16,20           154:3,13           142:20
 illness              159:2,5             176:3,10           143:18,22
   12:16 21:25        162:1 164:5        included            144:18
   22:17 24:2,        165:5 166:7         16:17 111:13       145:20,24
   17,18 25:11,     implications          150:18             149:3 150:23
   21 85:5            184:20              177:10 185:3       152:12
   97:16 98:9       importance           includes            155:14
   99:24 100:4,       175:11              100:25            increases
   5 101:1          important            including           103:22
   110:7 114:16       8:12 28:9,15        32:19              110:25
   115:11             43:14 48:25        inclusion           159:12
   117:11             49:3 82:12          93:1,3 135:9      increasing
   130:18             90:7 104:25         185:9              26:4 83:5
   134:16,20          106:8 114:25       incomplete          110:22 129:6
   135:6 141:25       115:3               8:5                161:8
   142:19 185:5     improve              incorrect          indication
 illnesses            106:14              8:5                127:7
   136:20             164:14             incorrectly        indigent
 immediately        improvement           69:12 119:8        61:8
   15:15,17           82:16              increase           individual
   60:11 108:14                           18:14 22:10,       62:2 66:9


              U.S. Legal Support | www.uslegalsupport.com                  ·22
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 73 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
  69:6 79:24        initialled           interaction        item
  84:8 107:24        137:8                35:14 73:3,5       52:4
  112:6 115:9       initially             163:16 174:8      ive
  162:10             20:12 22:7          interactions        169:23
 individual's        34:15,23             72:25 163:21
  23:3 155:24        61:24 65:22         interchangeab               J
 individuals         125:3 132:7         ly
  45:14 81:22        176:17               80:13             jail
  115:20            initiated            interested          69:6 146:23
 induce              100:18               4:10 34:2          147:9,13
  114:15,16         initiative            59:5              James
 industry            13:5 16:19          interesting         4:7
  23:19 92:11        51:18,22,25          55:8              Jersey
 infection          inmate               interfere           70:12
  25:20              12:4 74:2            121:22            job
 influenced          81:22 90:3           134:13             64:10 106:4
  103:2             inmates              interfering         166:1
 inform              44:4 46:4            120:17            jobs
  48:22 163:9        48:7,14              121:20,22          105:2
 information         49:7,13             internal           joint
  39:2,5 60:7        104:15               28:24 68:17        36:1 63:20
  175:15             147:13,19            173:6             jointly
 informed           innovative           internally          35:15
  48:24              62:14,16             67:17 174:18      Journal
  103:12,13         inpatient            interpreted         70:9
  104:4              63:16                153:18            journals
 infrequently       inside               involuntary         70:4 71:12
  18:18 22:10        46:6 58:10           97:8
                     74:3 137:15                            judge
  23:11,14                               involved            9:18
  24:9,25           instance              6:9 23:17
                     23:7 136:25                            July
  27:10,15                                50:1 65:3,10       13:21 14:7,
  94:17 108:21      instances             73:14 74:18        23 15:8,13
 infusions           24:17                76:8 90:23,
                                                            just-
  61:2              institution's         25 91:3
                                                             23:18
 ingredients         93:22                108:22
                                                            justice
  153:24            institutional        involvement
                                                             13:5 16:19
 inhibit             167:3                23:19 48:3,
                                                             23:16,18
  145:11            instructs             14
                                                             51:22,25
 inhibitors          7:15                issue
                                                            justice-
  128:21 129:9      insurance             67:22 98:20
                                                            involved
 initial             27:18               issued              24:5
  5:4 14:9          intend                51:8
                                                            justification
  18:9,20            19:11,15            issues              60:5 110:20,
  38:25 49:22       intensity             105:10             24
  89:12 98:3         122:5               issuing            justify
  125:4 132:18      interacted            78:6               115:3
  175:24             31:8 33:13


              U.S. Legal Support | www.uslegalsupport.com                  ·23
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 74 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 justifying          156:16               82:1 86:1,        lab
  60:17             kind                  22,23 91:15,       58:18
 juvenile            22:12 26:25          25 92:4,19        labeled
  64:18              45:15 46:14          97:22 98:21        78:12
                     47:5 68:6,17         104:19,24         labor
                     96:20 99:23          106:16             180:6,20
         K                                108:4,5,6
                     100:5 107:10                           lack
                     108:4 109:6,         109:6,15,16,       100:14 102:7
 keep
                     22 120:4             20,22,23,24,       169:6
  54:13 67:21
                     125:1,23             25 110:18         Lancet
  116:16
                     132:18               115:10 116:5       71:11
  138:15
                     144:16               118:8 119:20
  185:21                                                    land
                     146:17               120:4 121:11
 Keldie                                                      107:11
                     150:21               123:8,9,10,
  14:9,12,19,                             12 124:15         laps
                     175:16
  20 15:1                                 127:18 131:4       26:12
                     176:5,6
  17:21 30:4                              132:20            large
                     185:3 186:18
  31:19 32:14                             140:20,21,22       104:9
  33:23 34:3,       kinds
                     163:14               143:10,24,25       146:22,23
  4,8 35:6,23                             144:13            larger
  36:3,16           kitchen
                                          145:7,14           147:9 157:25
  37:3,8,11,         104:20
                                          146:9 147:9,      Lasix
  20,23 38:6,       knew
                     45:18                11 148:3           149:22
  12,13,15,18,                            149:13            Lastly
  22 39:9,11,       know                  159:1,19
                     7:21 8:25                               8:25
  14 40:6                                 162:8 163:2
  41:14 42:11        9:2 12:7,24                            lasts
                                          172:19 173:5       27:3
  65:19 76:21        17:1 20:19           174:16,17,        late
  77:1 107:23        24:2 26:11,          19,22 175:14
  178:11             24 27:2                                 14:23 15:8,
                                          176:2 177:12       13
 Keldie's            28:12,16,18          180:12
  35:2 36:21         32:16 33:5,                            lateral
                                          181:23             63:15,21
 Keogh               9,14 34:8,18         182:1,4
  5:20 15:3          37:18 38:2,                            Lavespere
                                          183:2,3,6,7,
  31:20 32:15        17,20 40:8,                             30:8,14,22,
                                          12 186:14
  45:1               20,21 41:11,                            24 31:5,7,23
                     16,17 45:24         knowledge           32:4,7,12
 kept                                     16:2 180:18
  185:23             46:1 47:6,19                            89:12 90:21
                     48:5,18              181:20             107:25
  186:2,4,13,                             182:20,24
  14,17              49:11 50:17,                            159:20
                     19,25 51:14,        known               173:6,12,14,
 key                                      135:3 143:7,       17 174:3,23
                     24 52:15,17,
  27:22                                   10 145:23
                     23 53:16                               Lavespere's
 kick                54:13,16                                174:7
  5:1                55:8 56:18,                 L          lawsuit
 kidney              25 70:7                                 11:23,25
  144:19 149:5       73:17 75:2,         L-E-B-L-A-N-C       12:3 74:9,14
 kidneys             10 76:2,3,5          33:21             Le
  27:4 149:5         79:11,19                                4:7 33:18,21


              U.S. Legal Support | www.uslegalsupport.com                  ·24
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 75 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 leadership         licensing              26:5,22            7,10 106:7,
  15:25 19:7         171:4                 27:7,25            8,12,13,16,
  60:3              licensure              28:8,10,13,        17,23
 Leah                171:4                 15,19,21           107:12,20,21
  4:23              life                   29:20,22,23        108:2,4,5,9,
 leaned              86:24                 30:15,20           10,12 109:7,
  153:24            life-                  31:2,11            24 110:11,14
 leans              threatening            32:16,18           111:13,25
  94:6               142:7                 37:25 38:1,        112:10,25
 learn              lifestyle              3,20,21,23         114:2,7,20,
  13:19 183:18       168:10                39:1,3,15,         24 115:2
                                           19,21,22           116:14,16,24
 learning           likelihood             40:17 41:14        117:13,14
  57:1               130:16,17             42:2,7,8           118:1,24
 leaving             131:14                44:3,9 52:6,       122:21,23,24
  36:13 174:10      limit                  13,16 53:17,       123:6,16,23
 led                 73:8 80:20            18 54:3            124:23
  62:9               108:20                66:3,5,7,20,       125:6,18,19
 leeway             limitations            22 67:13,14,       126:2,3,5,
  166:20             169:19                15,17,22,25        10,12,18
 left               limited                68:1,4,6,8,        127:4,10,11
  36:10 37:6         24:11 25:9            14,25 69:2,        131:6,12
  61:4,16            130:4                 3,11,13,20,        133:13,20,21
  73:18 149:18       152:13,14,20          22,24 78:14        134:8,9,22
  182:11             154:18,25             79:23 80:3,        135:10
 legal               155:5,7               16 81:7,21         141:4,7,20
  4:9,13             171:3                 82:17,19,20        144:5,7,10
  182:25 183:2      limits                 83:1,4,6,9,        145:1
 legs                89:24 97:3            11,15,18,22,       146:11,13,17
  140:9             line                   24 84:5,8          148:13,23
 length              9:12 49:10,           85:2,7 89:13       149:19
  25:25              15 63:18              90:23 91:1,        150:19
 letter              157:12                4,8,11,14,22       151:7,11,14
  51:21,24           180:11                92:13,18,22        152:15
  125:4             lines                  93:10,13,15,       153:8,10,22
                     73:25                 19,22,24           154:7,24
 level
                    list                   94:3,5,14,         155:16,18
  12:12 17:25
                     12:10 13:9            18,19,21,22        158:9,15,21
  20:7 60:9
                     15:23 16:1,           95:3,4,7,8,        159:5,10,11,
  161:25
                     3,4,9,11,13,          9,10,14,16,        15,18,19,23
  168:21 169:4
                     14,25 17:13           18,23,24,25        161:15,16
  170:4,25
                     18:4,5,6,9,           96:3 98:3,7,       162:1,3,16,
  180:5
                     12,17,19,23,          10,11,17,19,       21 163:5,20
 liaison                                   23 99:3,8,         164:4,7,10,
  63:10              25 19:4
                     20:25 21:5,           13,16,25           12,14,15,18,
 licensed                                  103:8,9,18,        20,22,23
  168:24             8,13,17,21
                     22:3,6,7,8,           19 104:11,         165:5,11,20,
  169:1,11                                 13,14,17,23,       21 166:8
  170:1 171:14       11 24:19
                                           24 105:4,6,        167:5 168:15


              U.S. Legal Support | www.uslegalsupport.com                  ·25
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 76 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
  171:17,23          135:8               long                122:20 131:1
  172:9,12           145:10,16            8:25 25:22         139:10 157:3
  173:2,3,4,5,       146:1 153:2          27:3 98:5          160:5 175:21
  9,13,17,24         154:8 160:5          135:23 156:9       177:8 179:20
  174:3,7,10,        185:17,18,21         162:17 166:9      looks
  12,15,24           186:5,10             168:8 182:21       98:16
  175:8,10,16,      literatures          long-term          loop
  21,22,24           130:24 131:9         24:12 25:7         144:25
  176:1,6,7,9,      lithium               61:16,18           145:3,7,11,
  16 177:2,4,        98:9,11              64:16              14,17,19,24
  5,6,7,10,12,       118:2               longer              146:3,7,13
  18,22,23          litigation            25:12,13           148:11,12
  178:4,7,11         4:24 6:7,8           57:16 76:4         149:1,20,25
  185:1,6,8,13       7:5 52:8             94:22 95:22        150:7
 listed              73:14 74:18          110:23            loratadine
  53:18 130:25       75:13 76:7          look                126:22
  131:19             183:19               16:5 23:16        lot
  167:10            little                25:15 32:19        20:11 27:5
 listing             26:15 40:25          44:24 46:12        39:2 60:6
  99:9 153:18        44:2,8 54:8,         47:5 56:22         89:19 103:5
 lists               11 56:8              57:6 83:6,9        116:11
  26:23 39:4         57:8,9 68:3,         86:21 99:18       lots
  52:4 66:10,        4 87:5               107:13             154:1 156:10
  16,18,20           157:25               117:13 121:7      Louisiana
  67:2,5 80:8        167:23               130:17             11:8,12,13,
  90:13 102:23       176:23               131:21             19 43:10
  119:10             177:20 182:9         142:11             47:24 68:9
  133:15 135:6      lived                 162:10             77:21 78:24
  146:4,8            86:24 168:9         looked              105:16,22
 lit                lives                 43:23 56:17        123:18
  131:7              156:14               85:9 115:10        137:12 143:2
 literally          LLC                   140:11 143:1      low
  86:21 110:6        36:20                153:23             101:19
 literature         loaded                157:23             125:11,18
  16:2 20:18,        57:5                 176:7,8            126:21 127:2
  20 28:22                                185:2              130:3,9,13,
                    local
  107:7,8,10,        146:21              looking             14,18 131:22
  17,24 110:3,                            22:24 24:13,       132:1 137:7,
                    located               24 45:16
  17 114:5,10,       146:25                                  11 161:18,20
  11,12,14,17,                            50:23 61:25        168:4
                    location              79:14 87:3
  19 115:1,7,                                               low-risk
  14 116:15          45:22 186:9          89:8 90:14
                    locations                                132:21
  118:15                                  92:1 97:22        lower
  125:21             149:16               98:24 99:4
                     179:16                                  24:25 83:7
  130:12,17,                              107:15             126:10,12
  19,20 131:1,      logical               108:12,16
                     114:6                                   127:7,13
  8,12,17                                 114:18             139:13
  134:21,22,24                            119:6,15           140:9,19


              U.S. Legal Support | www.uslegalsupport.com                  ·26
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 77 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 lowered             22 27:23            makes              mean
  84:22              29:15 86:24          94:12 102:6        11:7 27:4
 lowers              152:7 163:7          110:25             28:4 39:18
  83:5 140:3         166:24 167:2        making              56:4 67:8
 lowest              175:23 176:9         21:1 38:2          84:12,25
  160:22,24          183:15,19            44:3 82:20,        92:15,24
 LPNS               main                  22 145:12          100:9 101:4
  169:6              17:13 60:22         managed             102:3,4
 LSP                 170:8                61:10              106:13
  11:13 29:6,       maintain             management          108:1,15
  13,24 30:5,        66:3,5,7             6:6 34:24          114:8 116:17
  12,13,20,25        67:12 68:17          60:2 62:8          118:12
  31:6 42:14         69:13,17,23         manager             122:13,15
  43:4,6 44:12      maintaining           74:25              123:2 124:24
  45:6,8             129:3                                   127:17,22
                                         marked
  47:17,21          maintains                                130:19 131:4
                                          51:6 77:20         132:5 140:25
  49:14 51:19        66:16 67:17          78:23 94:3
  79:8,15,20         69:5,9                                  142:7 154:20
                                          113:23 139:9       160:1,23
  80:14,22          maintenance           158:4 167:11
  83:16,22                                                   162:2 165:17
                     128:6 151:16        marking             185:23
  84:5 87:12,        155:8                51:5
  25 88:20,22                                               means
                    majority             Martin
  89:9,25                                                    6:13 24:22
                     94:11 144:8          54:20              30:17 56:9
  108:9 123:11      make                 mass
  147:24                                                     80:24 99:22
                     7:12,14 16:8         86:2               101:10
  163:15,23          18:19 22:3,
  171:2,8                                match               122:19
                     11 27:1,24           59:4               175:11
  172:8              28:20,25
  178:20,23                              matched            meant
                     50:11 81:13          59:6
  179:2,6                                                    119:1 165:19
                     82:19 86:9,         matches
  181:18,19,         13 87:4                                measure
  21,25 182:5,                            68:13              113:9
                     88:14 94:24
  21,24 183:3,       95:4 99:19          materials          mechanism
  16,20                                   11:2 16:16,        22:20,21
                     104:21,22
 LSP's               119:22 126:8         17,21 17:11,       96:14 98:11
  88:9 179:25                             12                 118:8 120:8
                     137:16
 lump                145:14              matter              130:11
  120:11             151:12               4:6 6:10           141:18
 lumped              153:25               15:16 22:22        142:11 149:9
  87:1               157:25               28:7 75:1,20       156:25
                     158:20,22,24         126:1              160:15 161:8
 lunchtime
  138:10             162:13,22           max                 184:9
                     163:1                38:10             mechanisms
                     167:22,24           Maxor               102:13 126:8
         M           168:22               34:19 65:10        129:2 133:18
                     177:16,18           MDS                 149:15
 made                                     169:13             160:13
                     184:23
  16:1 21:11,                                                161:6,13


              U.S. Legal Support | www.uslegalsupport.com                  ·27
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 78 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
  175:12             24:7 25:15,          27:12 35:12,       83:6 84:9
 med                 17 46:9,25           18 46:11           85:2 86:4,5,
  19:1 24:14,        47:1,9 52:6,         52:14 53:2,7       7 94:10,11,
  18 26:8            13 53:7              58:8 61:13         16,19 97:22,
  27:2,3 31:2        62:21 63:19,         62:23 66:4,        25 98:2,8,12
  46:10 47:4,        25 67:1 72:8         12,17 67:13,       99:11,13,16
  8,11,13,14         73:2,4,5             18 69:14           100:2 108:19
  48:2 83:24         74:7 78:14           70:17 72:12,       109:25
  84:8 86:5          80:16 83:3,          25 80:17           110:1,7,8
  92:21 97:11,       9,22 84:5            81:6,9,10,         112:4,7,10
  15 98:13           89:7,15              16,17 83:15        114:14
  114:16,19          90:13 91:22          89:8 92:18,        115:12,13
  131:14             92:13 93:8,          20 94:6,7,8        117:6
  135:21 137:4       19 94:3              97:14 98:25        118:18,21,23
  153:13 155:8       98:23 99:3           99:4,5,9           125:2 137:4
  156:21 166:8       103:13               104:3,5            140:22 142:8
  168:14,16,19       104:11               106:23,25          144:17
  179:18             107:18               107:5 109:7        151:2,16
 Medicaid            111:4,13             111:19             153:21
  61:10,12           114:2,7,16           114:15 115:1       154:23
  143:6              115:2 116:23         117:1,2            155:6,8
 medical             122:24               119:4 122:21       162:12,17
  28:25 34:6         123:6,16,23          123:22             163:10
  35:8,14,24         124:6                124:1,21           165:17
  36:22 38:2         132:14,17            126:17,21          171:17
  59:9,16,19         135:10 144:5         127:23             172:13
  60:15 65:20,       145:1 146:4,         132:2,6           meet
  22,24 66:12        8,17 148:13,         139:13 141:4       30:4,23
  87:6,16            23 151:11,18         146:11             37:20 76:16
  88:11 89:3         152:6,15             150:12,13,         187:1,2
  111:3,10           153:8 156:22         18,22 151:8       meeting
  122:12,14          158:9 163:1          152:12,16,20       31:12,16
  158:15             166:3 168:25         153:10             38:9 173:18
  163:25             170:19               154:18             174:2,4,6,
  166:25             172:24 173:2         155:13             11,23 176:6
  167:14,19,21       178:3 180:21         167:21 172:9       177:7,13
  168:20             185:1               medicinal          meets
  169:5,7           medication-           58:4               92:25
  170:8             use                  medicine           member
  171:14,20          35:17 62:3           37:15 59:15,       30:13
  172:7,10           63:12 64:4           16 70:12          memo
  178:20,23          73:20               meds                133:19
  179:2,8           medications           16:7 17:16         150:18
 medication          12:5,14,18           18:12 24:13       Memphis
  12:10 13:8,9       14:15,17             26:16 32:16,       54:22
  15:23 18:4         21:23,24             17 38:1
                     22:2,9,15,24                           men
  19:22 22:15,                            46:12 53:7         13:12
  18 23:21           23:24 24:1,6         69:21 82:18        180:11,20


              U.S. Legal Support | www.uslegalsupport.com                  ·28
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 79 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
  182:5             methodology          morning             4:7,23 5:2,
 mental              20:8 107:3,          4:20 20:7          3,4 33:3,5,
  24:2 25:10         16 130:8             44:5 53:9          17,18,20,21,
  111:19,23         metropolitan         move                22 34:17,18
  112:4,8,17,        147:13               22:6 32:23         38:16,17
  19                Michael               50:22,23           40:4 48:10
 mention             4:8                  85:11 101:6        60:20 73:24
  90:25 91:3        middle                128:20 138:7       127:18
 mentioned           5:4 61:19            157:12             128:25 129:8
  7:5 12:23         migraine              174:12,15          153:15
  13:11 16:15        136:21 137:8        moved               177:19
  17:10 23:9         168:5                61:4              named
  30:3 31:22        mimicked             movement            33:1 74:9
  32:11 33:23        137:14               45:21 94:7        names
  36:15 37:11,      mind                  97:9 117:16        91:5 125:7
  21 39:14,24        109:22 127:5        moving              164:16
  41:7 42:14         142:20 177:6         54:9 77:4          177:17
  49:5 56:16         184:16               144:14            Narcan
  65:2,7 67:16      minimal              MPAS                47:25 179:9,
  73:23 85:15        128:2                169:15             12,25
  91:5 102:21                            multiple           nares
  103:1 111:18      minutes
                     77:8 138:21          24:15 35:9         96:20
  147:17                                  38:24 39:4        nasal
  152:18 167:8      mirror
                     28:5                 46:17 57:13        150:12,17
  181:17                                  66:10 68:14        152:5
 met                misstatement
                     176:14               84:25 86:5,7      Nashville
  30:8,14,16,                             96:13 107:6,       61:4
  21 31:6,10        model                 14 114:12
                     62:14,17                               National
  33:11,12                                115:16,20          61:17
  38:9 49:5          75:24                116:12 127:8
                    moment                                  nausea
 meta-analysis                            130:24             100:13
  107:14             83:13 113:20         131:3,17
                    monitor                                 necessarily
  114:11                                  132:20,22          27:16 43:19
  115:16             50:24 155:5          135:5 160:9        44:13 69:22
 metabolic          monitored             161:21,22          94:9 112:13
  96:10,17           137:10               179:16             160:19,23
  109:3             monitoring           muscle             necessary
 metabolism          166:11               86:2 140:1,        141:18
  156:2             month                 6,9,18             168:21
 metabolize          59:18 181:20        muscles            need
  129:5             months                140:2              8:19 9:2
 metabolized         13:22               myriad              19:3 21:3
  72:14 155:23      mood                  113:11             24:19 25:22
 metabolizing        94:10                                   39:6,20
  129:10            morbidity                    N           50:13 51:14
 methodologies       85:12                                   67:25 73:23
  20:9              morbidly             name                87:4 97:5,20
                     85:10


              U.S. Legal Support | www.uslegalsupport.com                  ·29
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 80 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
  109:18,23         night                 34:6 43:16         180:17
  110:14              156:15              47:21 51:19        182:7,14
  124:8,12          nods                  57:6 67:1,5       observing
  128:15              76:23               70:14 71:12        88:2
  129:21,24,25      non-                  77:23 78:24       obtain
  132:8,9             186:1               82:18 83:6         57:3,21
  136:2,17          non-justice-          86:15 94:18        58:13 61:13
  140:22            involved              115:18            obvious
  151:11 155:2        23:25               125:20,21          165:2
  156:5 162:20      non-loop              162:7             obviously
  164:8 167:3,        148:21,22          nurse               9:23 16:2,13
  23 177:1                                169:14             19:22 20:10,
  187:6             non-otc
                      151:21              170:9,11,20,       16,20,24
 needed                                   24 171:5           21:19 22:1,
                    non-peer-
  16:1,3,7,14                            nutrition           21 23:23
  18:12,17,20       reviewed
                      70:4                86:25              30:3,10
  21:14 22:4                                                 43:16 45:13
  23:5 50:7         nonaged
                      112:5                      O           46:3,8 48:20
  93:10 97:13                                                49:18 56:10
  99:16 108:25      nondihydropyr
                    idine                oath                62:6 70:15
  109:7,12                                                   76:11 81:19
                      139:19,24           9:13
  154:19                                                     86:22,23
  174:9,11,15,        141:14,22          obese
                      143:14              85:10,12           90:1,11
  17 182:15                                                  91:13 98:10
  186:8             nondihydropyr        obesity
                                          84:19 85:4,        108:5 139:23
 needing            idines
                                          19                 140:14,20
  162:10              141:5,7                                159:20 162:2
 needs              nondispensing        object
                                                             169:16,19
  28:21 54:12         72:18               91:23 105:17
                                                             175:10,17
  92:22 93:13       nonscientists         106:9 138:3
                                                             176:25
  102:22 104:8        115:7               171:25
                                                             179:21
  124:6,13          nonsedating           183:21
                                                            occasion
  162:13              121:9 122:16       objection
                                                             75:18
  163:25            nontraditiona         105:25
                                                            occasions
  166:25 167:6      l                    objections
                                                             43:5,7
  170:5               184:17 186:1        7:14
                                                            occurred
 network            noon                 obligation
                                                             116:9 149:22
  75:23 76:1          77:5 156:17         182:25 183:2
                                                            occurs
 never              northeast            observe
                                                             117:16
  18:18 26:9          147:1               13:17 45:14,
                                          22 46:2,3,9       octagons
  28:14 82:25       nose                                     119:22
  168:6               96:19 151:4         88:6,19,25
                                          89:1,16           offer
 newly              notes                                    19:11,16
  136:7               11:2 45:5           163:16 164:1
                                          180:12            offered
 NHC                  99:18                                  181:24 182:5
  61:17             number               observed
                                          13:15 46:5        offering
 nice                 13:3 17:2                              178:14,19,22
  187:1,2             18:16 20:14         48:16 88:2


              U.S. Legal Support | www.uslegalsupport.com                  ·30
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 81 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
  179:1,4            144:12,14            112:21            operations
  180:5,9            145:17               113:13,15,20       13:18 46:14
  181:3              148:11               115:22             48:19 60:25
 office              152:22               116:3,8,11,       opining
  17:18,24           153:17               12 117:13          180:2
 officer             157:10,14,15         119:18            opinion
  34:6 35:8          170:7 176:15         121:1,6,11         18:2,6,8,16,
  36:22 65:23,       177:24               125:13             20 20:5 22:6
  24                 180:24               127:4,19,23        24:19 38:2
 officers            181:3,7,9            129:1,4            39:15 40:13,
  47:19,22           184:3,14             131:5,6            15,18,21
  48:3,7,17          186:18,20            132:19 133:8       43:24 48:25
  179:15,17         older                 134:1 137:1        49:4 87:8,18
 okay                86:22,23             138:18             88:8,21 90:6
  4:22 5:10,        once                  140:4,6            94:2,5 95:15
  14,23 7:10         25:6 75:16           144:24 147:6       99:7,22
  8:8,17,23          158:24               149:22             108:14
  9:6,10,23         once-a-day            155:4,22           111:10 122:9
  10:12,16,19,       156:22               156:3 159:24       124:1 128:5
  21 11:1,5,11      oncology              160:12,22          130:4 131:21
  12:20 28:23        60:16                161:3,11,15,       134:18
  29:6 31:15                              21 162:12          135:14
                    one                   165:17
  32:6,23            4:23 17:13                              136:10
  33:16 43:4                              167:21 172:8       137:23
                     19:1 20:14           173:19,20
  44:24 47:13        25:17 26:10                             141:13
  49:18 50:15,                            174:19             148:1,12,17
                     27:19,22             175:2,3,5,19
  25 51:11           31:3,22                                 149:20
  52:17,25                                177:14 184:3       158:14 159:4
                     34:10,12             185:13
  54:6 56:1          37:21 38:13,                            164:17
  58:23 64:23        14 39:24            ones                172:14
  65:8,15,25         43:25 44:1,          17:3,6             178:7,14,19,
  66:15 71:3,        19,23 45:10          127:15,16          22 179:1,4,
  20 72:24           46:23 47:20          140:11,24          7,10,11,24
  76:11 77:4         52:18,20,22,         142:14 154:5       180:5,9,13,
  78:1,18            23 54:17             155:15,17          23 181:3
  79:4,9,10          59:18,24            ongoing             183:14
  80:2 87:5          65:19 69:13          92:23,24           185:10,15
  88:8 91:7          70:11 72:8           93:11             opinions
  93:16 95:13        76:8 78:16          online              18:1,4
  101:3              80:4,9,10            116:18             19:10,11,13,
  113:18,23          81:4 82:9           open                15 20:8
  115:5,23           86:5 89:7            10:14 56:11        29:11 41:8
  116:14 123:5       93:4 94:11           134:2              48:22
  127:20             96:22 103:25        opens              opioid
  133:7,12           104:1 105:2,         140:2              179:9,12
  136:7              9 107:19            operate            opioid-use
  138:19,21,         110:25               63:8 121:20        48:1
  22,23              111:17


              U.S. Legal Support | www.uslegalsupport.com                  ·31
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 82 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 opportunities      outside               108:5 135:2       participated
  108:13             81:5 104:15          158:19             39:25 41:23
 opportunity         105:11               174:12             71:3,23
  8:7 94:24          106:3,4             p.m.                75:17
  106:14             107:24               4:5 77:11,        participation
 opposed             109:13 136:3         12,14 138:25       48:8 49:7
  6:15 24:12         147:14               139:1,3            76:7
 opt                 162:19 168:9         157:16,17,19      parts
  162:24            over-the-             181:10,12,14       149:4
 options            counter               187:4,9           party
  25:4               150:13              page                4:9
 order               152:5,20             7:12 51:11,       pass
  22:3 82:11         153:9,13,21          16 83:14           46:10
  96:24 163:11       154:22               114:1,4           passing
  171:9              155:8,13             119:5,6            134:3
 organ              overdose              139:8 167:11      past
  86:12,17           179:10,12           pages               23:20
  100:22            overreach             175:15            pathology
 organic             121:15              pairing             14:15 51:20
  57:23,24          overreaching          39:3               52:6,13,15
 organization        152:4               paper               53:3,17
  62:11             oversaw               50:2 165:3         66:4,8,16
 organizations       35:10,13            papers              67:1,13,18
  163:22            oversee               11:1               68:7,20
 organized           63:7,15,18,         paragraph           69:14,21
  159:23             21                   112:1 114:3        78:10,14,25
 original           overseeing            116:22             79:8,21,22
  80:4 115:25        60:23 62:25          144:23             80:15 83:9,
                     63:11               Parkinsonism        15,22 88:23
 originally
                    overseen              97:9               90:13 91:22
  116:1                                                      92:13 93:9,
                     29:7 64:17          part
 OTC                                                         19,24 94:3,
  150:17            overthink             6:19 16:25
                     112:13               17:2 20:13,        13 95:2
  151:10                                                     98:23 99:3,
  153:20,24         overview              16 45:16
                     53:23 115:5          59:22 61:7         21,22,23
  154:18                                                     100:1,6,24
  155:4,6                                 64:15 71:8,
                                          10 90:11           102:23
 outcome                       P                             103:11
                                          92:5,7,20
  4:11 115:12                             93:1,7 109:2       104:2,3,11
  163:11            P&t                                      111:13
                                          121:12
 outdoor             37:8 60:7                               114:2,6,15
                                          127:13 136:1
  147:15             63:13 65:8,                             115:2
                                          149:6 150:5
 outpatient          11,16,25                                116:23,25
                                          162:23 166:5
  61:1,14            67:7,8,9                                117:23,25
                                          171:18
 output              90:17,18                                122:24
                                          172:23
  144:21             91:5,11                                 123:5,15,23
                                          179:8,13
 outreach            92:20,25                                124:17 128:1
                     93:20,21            participate
  14:8,9,19                               71:15 75:13        130:3,10,14,


              U.S. Legal Support | www.uslegalsupport.com                  ·32
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 83 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
  15 132:1           142:18               31:21 50:5,       perform
  134:11             149:23 159:6         10 52:2            128:18 171:9
  135:4,6,10         162:10,12,          Payne's             180:6
  142:4 143:16       21,22,24             17:18             performed
  144:4,25           163:8,12,17         PBM                 13:14 21:12
  145:20,25          164:25               6:6               performing
  146:4,7,11,        165:9,13,20,        PBM's               111:20 171:7
  16 148:13,23       22,24 166:1,         75:23 76:1        Periactin
  150:3 152:15       6,8,10,20,25        peer                151:17
  153:7 158:8        167:13,15            70:12 71:3,       period
  160:13,15          168:13 169:1         7,8,10,23          25:9,14
  161:4,6,9,17       170:5 171:11                            84:20 124:5
  162:7 170:18       172:8,11,13,        peer-reviewed
                                          115:9              136:15 151:4
  171:8,21           15                                      155:12
  173:1 178:3                            pen
                    patient's                                186:10
  184:19             22:16 26:24          50:1
  185:1,10,16                            pending            periods
                     85:4,16 87:7                            98:5 152:14
 pathways            90:8 101:25          9:4
                                         Penitentiary        154:19
  114:15             113:15 124:7
                     134:7 155:24         11:12,14,19       person
 patience                                                    31:7,8,25
  119:8              161:4                78:25
                     163:10,24           Pennsylvania        37:23 40:10
 patient                                                     46:9 74:15
  12:14 24:23        167:14               66:21
                                         people              86:22 87:9,
  25:1,10           patients                                 20 89:7
  26:18,19,20,       23:16,17,25          24:8 43:25
                                          45:22 46:10        112:3 133:3,
  21 27:3 61:8       24:15 25:6,                             4 135:14
  73:24 74:1,2       8,24 26:2,7          49:10 57:16,
                                          17 58:17           136:14
  80:18 81:25        58:8 61:2,11                            141:21 142:4
  82:4,21            62:24 63:1,          81:10,17
                                          86:2,20,23         149:25 150:2
  83:24 84:8,        23,24 81:1,                             155:12,14
  10,13,25           21,23 82:7,          88:10 108:16
                                          115:17 116:9       165:15
  85:1,6,13,22       11,23 84:6                              168:22,24
  86:6,9,20          94:8 98:5            124:1 142:9
                                          156:22             170:22
  87:3,17,19         110:12 112:8                            179:16
  88:3 89:25         115:10,12,13         169:10 171:1
                                          182:22             184:23
  90:3 100:3,9       116:25
                     117:22,24            183:1,4,15,       person's
  102:8,12                                                   23:2 89:6
  105:23             124:3 140:20         20 184:1
                     143:5 147:13        perceive            109:9
  106:2,20                                                   134:13,15,20
  112:11,24          162:16               135:25
                     163:13,15                               135:4
  118:4,5,6                              perceived
  127:23             166:16 171:8         38:4 39:16,       personal
                                          18                 74:17
  128:3,4           payment
  132:14,23          61:9                percent            personally
  135:20            Payne                 116:10             74:9
  136:2,4            15:3,7,13           perception         perspective
  137:6,16,20,       16:15,20             20:23 21:1         120:7 158:14
  24 140:12,13       17:20 30:4                             perspire



              U.S. Legal Support | www.uslegalsupport.com                  ·33
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 84 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
   120:15 121:3       46:8 54:20,         168:11            plan
 pertinent            21,24 55:16,       physically          56:10 178:10
   104:17             22 56:2,7,12        9:25 180:3        planned
 PGI                  57:4,7,18,21       physician           159:16
   120:22             58:1,2,7,14,        34:5 37:12        planting
   133:19             24 59:2,9,          170:12,21,25       105:12
   150:18             11,14,21,23        physician's        please
 pharm                60:1,3,4,17,        171:6              5:15 7:21
   69:16              18,25 61:15,       physicians          8:7,20 9:2
 pharma-              21,24 62:1,         169:13             50:16 73:25
   179:20             5,9,14,16,          170:9,11,20,       113:5,19
                      20,25 63:3,         24 171:5           117:5 139:21
 pharmaceutica        8,9,11,14
 l                                       physics            point
                      64:12 65:3                             14:13 15:19
   58:4 111:3,        69:17,18,20,        57:23,24
   11 153:4                              physiologic         16:22 51:17
                      25 70:9,15                             61:23 67:23
 pharmaceutica        72:6 74:12,         59:22
 ls                                      physiology          68:24 93:9
                      24 75:24                               102:15 108:1
   64:5 179:21,       76:4 92:12          57:23 58:4
   22                                    piece               127:19 173:5
                      93:2                                   183:12
 pharmacies         Pharmd                46:11 165:2
   62:22 63:17,                          pieces             policies
                      5:7 55:7,11,                           29:25 35:17
   18                 15,18 57:1,2        114:12
 pharmacist                                                  60:7 62:3,4,
                    Phd                  pill
   20:10 34:24                                               22 63:12,19
                      58:21               103:22             64:4 66:19
   46:11 56:3,      phenothiazine        PJI
   6,11,13                                                   68:19 69:17,
                      119:18,24           16:19 51:18        19 72:7,9,
   58:12 59:13        120:19             place
   61:18 64:14                                               10,18 79:24
                      122:3,10            7:3 15:7,24        80:15 82:3,
   72:5,11            123:14              71:20 84:9,
   179:22                                                    16 88:9
                      124:22              24 85:1            92:12,16
   180:23             126:25              87:25
 pharmacists                                                 93:4 183:3,9
                    phenothiazine         104:20,21         policy
   145:23                                 105:7 109:18
                    s                                        17:14,15
   169:21             119:10,17           159:17
 pharmacokinet                                               23:20 29:20,
                    phone                places              22 53:19
 ics                  10:16,19,24         83:24
   72:13 157:1                                               60:4 63:13
                      14:22,25           plaintiff           66:5 68:11,
 pharmacology         31:25 37:21,        4:24               13,24 69:20,
   12:18 73:1         22,25 38:10        Plaintiff's         25 77:23
   93:5                                   113:24 139:9
                    photograph                               78:10 79:8,
 pharmacy             44:18,23            167:11             18,21,23
   14:16 19:22      photographs          plaintiffs'         80:19 81:8,
   23:21 34:15,                           12:7,12,24         15 82:4,5,6
                      44:16,25
   20,21,24                               13:2,10 51:5       83:4 88:5,
   35:1,7,10,       phrase
                      101:10,11           53:21 73:19,       16,17,19
   11,12,16,18,                           22 77:20           92:6,7,8,16,
   22 36:1 37:1     physical
                      10:9 96:10          78:23 158:5        18 159:3


              U.S. Legal Support | www.uslegalsupport.com                  ·34
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 85 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
  183:11,12          18,22 91:21         prescribe          prevail
 population          92:19 162:1          168:25             154:20
  24:3,4,5,24        168:25               169:11,24         prevalence
  25:2 142:23,       169:14,22            171:15,18          23:22,23,24
  25 143:1           170:4 175:17        prescribed         prevent
 populations        practices             24:23 25:1         84:16 85:21
  143:5              179:25               117:15             109:5
 portion            practitioners         136:7,18           132:11,14
  12:5,13            169:14               142:24 143:4       150:23
  52:12 53:4         170:9,12,20,         155:11            preventing
  58:9               24 171:6            prescriber          129:9
 portions           precaution            172:24            prevention
  53:1,5             87:21 89:4,         prescribing         168:5
 pose                20 135:15            124:8 171:16      previous
  140:15             136:9,13,16         prescript           23:9 34:9
 posed               164:19               169:23             74:2 79:18
  141:8              165:7,13,15         prescription       previously
 poses               167:12,20            6:6 74:25          7:6 8:5 16:6
  142:20            precaution-          prescriptive        18:25 21:19
  143:18,22         duty                  169:9,10,12,       27:8 32:11
 position            84:6                 17,18,21           34:5 40:6
  61:5              predicate             170:2              61:23 73:16
 positive            131:6               present             78:23 79:12,
  174:8             predicated            31:15,18,19        23 82:17
 possible            19:4                 103:2 180:3        114:9 117:22
  7:19 54:2         prefer                181:4              118:14
  106:17             5:10                presented           126:11 127:3
  162:23            preferred             19:21 39:6         158:4 179:14
 post                16:25                108:4 110:19      primarily
  60:10,11          preparation           123:8,17           12:9 22:25
                     39:11,19             174:3 175:8,       23:1 41:8
 potassium
                     40:16 76:17,         22 177:12          45:10 60:15
  145:12                                                     61:8 64:15
  149:12             19,22               presenting
                    prepare               19:8 108:2         80:25 114:24
 potential                                                   146:21
  92:14 112:22       58:19 76:12         president
                    prepared              35:1 37:1          147:11
  113:3,7,12,                                                152:19
  16 143:15          13:4 41:5            74:12
                     45:15 49:18         pressure            176:10
 potentially                                                primary
  109:8,10           56:18 116:14         133:22 134:5
                     178:11               136:20,24          15:21,22
 practical                                                   17:3,6 20:17
  58:9 72:17        preparing             139:14
                     39:16 61:20          140:3,19           22:14,21
 practice                                                    35:14 58:18
                     68:19 91:1,          141:15
  48:15,16                                144:18             59:15 105:10
  58:7 59:12,        4,8
                                         pretty              107:16
  14,20,21          prerequisites                            114:5,10
  60:1,4 72:6        55:1,3,4             147:4 177:12
                                                             115:6,8
  75:24 88:5,        57:22,25                                116:9 127:15


              U.S. Legal Support | www.uslegalsupport.com                  ·35
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 86 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
  140:5              90:13 94:15         profiles           proposed
 principle           107:22               19:1 106:22        95:8,10
  122:11             158:18,22            107:9,17           158:8 159:1
 prior               159:1,9              110:9 118:23       174:24
  27:20 36:12,      processes             121:20            propranolol
  13 38:8 40:7       47:7 60:8            122:17             168:4
  49:4 64:14         93:2 109:3           125:11            protect
  77:2 134:23       procure               126:22 127:2       81:21 82:11,
  137:13 177:6       63:9                program             23 83:2
  183:18            produce               10:12 57:15        100:21
 prison              105:13               58:3,15 59:4       124:16
  65:23 167:4,      produced              60:16 61:11        135:11,12
  6                  20:3                programs            148:16
 prisons            product               10:5 61:14        protection
  146:20,23          58:16                62:25 64:7         82:4 90:8,11
 privilege          production           project             182:1
  32:21              129:14,17            40:12 185:22      protective
 probably           products             promise             82:21 159:6
  7:13 9:1           153:24               13:5 16:18         180:10
  15:17 38:24        154:1,2              51:18,21,25       protects
  42:25 56:4        profession           promoted            82:6
  70:8 71:7          56:10                60:18             protocols
  115:15            professional         prompt              102:23
  127:15             55:2 58:22           93:12             provide
  146:14            profile              pronounce           15:4,18
  156:6,16           21:20 101:9,         119:8              16:21 45:1
 problem             14,16,19,20,        propensity          54:2 62:23
  63:14              23 102:6,11,         21:24 85:20        63:11 90:22
 problematic         13 104:4             101:15             91:7 136:13
  149:17             106:25 107:4         121:13             153:11
 problems            112:18              properly            167:19 169:2
  168:7              113:2,6,9,17         9:8 141:24         170:3 171:7
 procedure           114:18              properties          172:8 174:24
  63:13 69:21,       117:21               70:20,22           180:15
  25 88:17           118:3,11             95:1 99:1,6,       182:25
 procedures          119:2 120:25         10,12,15          provided
  62:4 63:19         121:12               103:12             16:15,23
  69:18,19           125:23               122:22             17:2,3,12,15
  72:7,9,10,19       127:14               124:21             18:21 19:18
  88:9 93:4          131:21               125:17 157:6       35:12,22
 proceeding          133:10               161:2,14           40:17 52:1
  9:23               150:23              prophylaxis         74:13,21
                     152:13,24            168:5              158:11
 process                                                     165:15 173:6
  44:4,6 45:14       155:14              proposal
                     160:8,17             108:5              180:11,20
  46:2,4,10                                                  181:1 182:18
  47:5,19 48:4       161:12              propose
  49:13 89:18        167:15               54:17             provider
                                                             25:21 38:2,


              U.S. Legal Support | www.uslegalsupport.com                  ·36
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 87 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
  14 84:24           117:6,20,24          23,25 28:23       Randy
  87:3 88:18        Public                30:16 41:2         30:8,14
  95:5 106:18        11:8 77:22           47:6 57:6         range
  124:6 128:4       published             67:20 81:12        100:25
  137:9,16           70:1                 87:11,14          ranging
  158:15            Pubmed                88:13 95:13        159:23
  163:17 165:9       131:9                101:3,6           rank
  166:10,20         pull                  103:16 111:9       98:2 118:16
  167:19,22          50:15 77:16          132:25            ranked
  171:14,20,21       113:18               136:12             107:12
  172:7,10                                163:19             161:15,17
                    pulled
 providers                                165:16
                     44:4 116:17          167:24 172:1      ranking
  38:4 39:16,                                                126:4
  23 58:11          pump                  173:19,21,
                     109:17               23,25 174:1       rankings
  87:8,12,18
  88:22 94:20,      purpose               175:1,18           169:7
  23 159:9,10        81:11 82:2,3         183:22            rarely
  163:4,14,23        104:13,14            185:25             18:18 100:10
  164:8 168:20       135:10              questioned         rate
  169:5,14          put                   92:21 175:2,       109:3
  170:8 178:23       12:15 38:23          5                  133:23,25
  179:2              50:24 72:1          questioning         161:8
 provides            85:1,6,13,16         40:20 41:16       rationale
  66:12              86:6,14,15           157:13 175:7       18:22 19:5
                     87:17 98:16                             39:7
 providing                               questions
  89:9 169:3         100:3 106:13         4:25 8:14         reabsorption
                     117:22,24                               145:12
  171:22                                  9:12 47:6
  172:10             140:12,25            70:24             reach
                     142:17 151:1                            14:21 20:8
  179:25                                  186:21,23
  182:21 183:4       182:10                                 reached
                                         quick
 provision          puts                  157:11             29:11
                     81:25 84:21                            react
  164:19                                 quickly
  170:22             95:2                                    22:19 26:14
                                          99:18 181:8
  181:21            putting                                  84:17 85:22
                     50:1                quit
 psychiatric                              36:10              96:11 184:22
  63:24 117:8                            quite              reaction
 psychiatrist                  Q          175:15             96:21
  117:15                                                    read
 psychologists      qualified                                12:9,20,25
                     170:3                       R           13:1,3,4,7
  169:18
 psychosis          quality                                  40:22 76:14
                     178:20,23           R-E-Y-N-O-L-        186:8
  24:2 117:10                            D-S
 psychotropic       quarters              5:5               readily
  94:6 117:1,        57:12                                   179:17
                                         raise               182:11
  2,11,18           question              28:15
 psychotropics       7:16,20,22                             reading
                     8:1,2,20            ran                 154:24
  18:10 21:18                             56:6
  28:12 114:24       9:4,5 19:17,


              U.S. Legal Support | www.uslegalsupport.com                  ·37
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 88 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 reads                20:15               138:9,24          refers
  130:12            receiving             139:2              119:6
 ready                58:23 138:1         157:15,18         reflected
  50:25 51:1        recent                158:2              42:7
 real                 6:3,5               181:10,13         reflects
  46:6 137:5        receptive             187:5              83:14
 realize              174:9              records            refresh
  8:4               receptor              28:24,25           186:15
 reason               121:18             recovering         refuse
  9:20 18:9         recognize             48:11              163:2
  41:17 68:4          138:9 158:6        recovery           regard
  96:18 117:19      recollection          48:12              16:1 52:5
  120:10              31:24              recruited           104:23
  122:16            recommend             33:24             regarding
  123:25              92:13 108:9        reduce              14:15 27:11
  124:16 128:9        123:13              19:2               37:20 91:7
  134:7 149:18        133:12             reduces             104:11
  154:13              138:18              133:25             150:14
  164:22              151:15             reduction           178:10 183:9
  165:1,23            153:12,14           90:9,10           regime
  166:18              161:25 166:2       refer               89:7
  168:13              177:3               5:11,14           region
  172:22 185:7      recommendatio         11:6,13,17,        148:5
 reasoning          n                     18 16:19          regionally
  105:4,5,7           95:16 123:21        51:21 52:6         148:4
 reasons              134:9 139:22        65:7 78:1         regularly
  19:9 96:13,         140:17              79:3 101:11        135:15
  16 133:22           141:2,3             124:21 169:6      regulate
  136:21              144:24              186:13
  159:11                                                     109:9 154:12
                      148:21,25          reference          regulates
  164:8,13            150:14,20           11:2 67:14,        129:19
 recall             recommendatio         17 68:14
  41:23,25                                                  regulation
                    ns                    115:19             110:7 120:16
  42:1,3,4,9          104:10 177:9        141:10
  47:1,16                                                    121:24
                    recommended          referencing        relate
  50:12,14            8:13 123:3,         166:23
  75:5 76:10                                                 13:12 53:2
                      17 125:6           referred
  79:2,6                                                    related
                      141:4 148:15        29:22 34:16
  102:24              153:7,10                               4:9 6:6
                                          52:15 111:23       12:14,16
 receive              154:7 157:23        128:22
  14:8 17:18          173:1 177:6                            18:3 22:17
                                         referring           23:6 29:20
  80:19 87:21       recommending          11:15 21:6,8
  127:25                                                     30:15 38:8
                      95:22 151:14        22:13 69:12        44:21 67:25
  128:7,13          record                70:24 122:23
  135:15                                                     68:1 70:16,
                      4:2 5:2             127:24             19,21 75:22
  136:8,16            8:13,16             143:25
 received                                                    86:4 97:23
                      77:10,13                               99:24 101:7
  17:17,19,20


              U.S. Legal Support | www.uslegalsupport.com                  ·38
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 89 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
  112:11            removed              reported           resident
  115:11             39:2 75:22,          145:9               71:19
  117:20             25 90:4             reporter           residents
  121:13 128:2       95:24 98:19          4:12 8:12,16        59:20 61:9
  131:22            removing              51:2 187:6        resolution
  132:16,25          96:2 176:2,         reports              75:2
  133:1 151:4        3,10                 107:13,14         resolved
  173:24            renal                 114:14              75:10 76:2,5
 relates             144:19               131:11            resolves
  63:19 81:23       rendered              145:16 185:4        12:3
  97:9 111:24        18:1 48:23          represent          resources
  180:21             179:8                79:7,12 80:6        91:8
 relation           rendering             142:16            respect
  33:2,7             49:4 178:7          represented          81:10 88:22
 relationship        179:24               5:17                102:22
  35:21 70:16       repeat               representing         122:10
  71:17 104:2        12:22 33:19          5:19                180:19,25
 relationships       87:13               request            respond
  64:2              repeats               103:8               18:14 22:21
 relaxation          101:8                165:18,21           73:2,6 97:20
  140:1             rephrase             requested            100:19 105:1
 relied              7:22 111:9           8:13 17:11          109:1,12
  106:24            replenish             51:12 53:25         113:13,14
 rely                149:14,16,17        requesting           124:7 134:1
  91:13              150:1                42:9                136:4
 remember           replenishment        requests           responder
  17:4 25:4          145:13,15            165:13              179:5,7
  30:1 33:15        report               require            responding
  40:11 44:20,       10:13 20:2           27:20 93:14         156:10
  22 46:22           26:1 32:7            94:22             response
  47:3 56:13,        39:12 40:23,        required             8:14 19:21
  24 71:11           24 41:4              57:20 71:13,        121:1 160:25
  94:20              48:23 49:19,         15 171:4            174:7 175:6
  173:24,25          21,23 50:4,          180:6             responses
  174:1 175:19       9,16,19             requires             8:16
  177:11,15          51:3,8 52:18         135:19            responsibile
 Remeron             53:2,4 54:7         research             35:20
  184:4,5,7,         78:7 99:20           58:13,16,17,      responsibilit
  19,21,25           101:4,8              18                ies
  185:3,5,7,         106:23                                   63:6
  11,15,25                               reserves
                     111:18               103:24            responsibilit
 reminder            113:18,21                              y
  155:3,6            119:5,14            residency
                                          58:24 59:1,         15:21,22
 remote              130:23                                   64:6,13
                     139:9,16             5,6,10,11,12
  4:3                                     60:1,10,11        responsible
 remove              145:3 149:1
                     158:3 178:2          71:21,24            26:4 35:17
  176:23                                                      170:22


              U.S. Legal Support | www.uslegalsupport.com                  ·39
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 90 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 rest                54:3 56:16          ride                104:3,4
  93:20              70:12 76:18          26:11,15           106:25
 restate             82:18 92:1,         riding              107:4,7,9,17
  41:1               5,8,14,17            26:8,13            110:1,8,13
 result              116:6,8,18,         right               111:1,5
  85:6,16 86:8       20 130:20            5:6 9:14,25        112:18,24
  89:3,4,9           158:19               10:14 11:23        113:2,6,9,
 retained            159:20               15:18 25:2         12,17
  15:10,20           172:16               31:7 47:9          114:14,18,19
 retention           179:22               49:19 50:15        117:22,25
  15:15 16:16        185:3,22,24          51:9 64:25         118:11,23
  144:19             186:5                65:5,11            119:1 121:20
                    reviewing             66:14 77:8,        124:17
 reuptake
                     15:19 16:1,6         19 82:8,10         125:14,22
  128:21 129:9                                               126:11,22
                     18:5 26:4            83:11 89:9
 review              41:14 91:22                             127:2,7,12,
  15:23 16:12,                            91:17 111:14
                     92:20                115:2 116:1        14 128:1
  13,21 17:1         114:13,19                               130:2,9,13,
  18:8,23                                 122:25
                     173:3 183:10         123:23             14,21
  20:17,20,24                                                131:21,22,25
  21:12 26:23       reviews               128:20
                     71:13,15             135:11             133:10
  28:19,24                                                   134:6,11,12,
  31:1,11 32:7       107:6 131:17         138:16 142:1
                     134:22               144:14 145:1       15,20 135:4,
  40:23 47:5                                                 12 140:12,
  50:4,5 51:12       169:22               150:4,8
                    revision              153:8              13,16,19
  53:1,6,19,25                                               141:8,9,19,
  54:1 61:20         42:3,5               157:10,21
                    revisions             175:21             21,25 142:3,
  71:4,7,8,10,                                               12,18,19,21
  23 72:9            42:2                 178:4,12,17,
                                          20,24 181:16       143:15,18,22
  78:6,8 91:15      revolved
                                         risk                145:4,6,8,9,
  92:4,6,8,23,       62:15                                   20,25 148:18
  24 93:3,5,8,      revolves              12:15 22:10,
                                          12,13,14,16        149:9,11,21
  11,19 94:23        11:11                                   150:23 154:2
  107:10,16         Reynolds              24:18 28:8
                                          52:15 53:3         155:14
  108:14             5:4                                     159:13,25
  114:10                                  72:14 81:25
                    Reynolds-             82:24 83:5,7       160:1,2,4,5,
  116:23 125:4      barnes                                   8,12,17,22,
  130:11,24                               85:1,5,16
                     4:15 5:3,11,         86:6 87:17         24 161:4,7,
  134:24             13,15 51:4                              9,12,17,20
  172:23                                  90:9,10,11
                     139:5                93:6,9,23          171:16
  173:6,7           Reynolds-                                175:12
  174:12,13                               94:13,17,24
                    barnes'               95:2 97:12,        185:10,16
  185:8,17,18        158:3                16 98:8           risks
  186:9             rhinitis                                 112:21
 reviewed                                 100:3 101:9,
                     156:9                14,16,19,20,       113:15 162:9
  17:20 21:17       ridden                                   171:21
  50:6,10                                 23 102:6,12,
                     26:9,10              16 103:11,        RNS
  51:18 52:20
                                          18,20,25           169:6
  53:5,9,20,22


              U.S. Legal Support | www.uslegalsupport.com                  ·40
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 91 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 road                                    science            sedating
  147:16                       S          20:21 54:21        122:16
 Robitussin                               110:4,5           sedation
  151:9             safety               sciences            121:14
  153:13,16,19       11:9 77:22           57:24 58:3,5      see
  155:16             171:10 181:4        scientific          15:25 16:7
 role               sake                  107:17             17:11 18:24
  18:3 33:9,14       110:22               114:25             20:21 21:1,
  34:22,25          Saphris               134:19             13 23:22,24
  35:2 36:8,         95:20,22            scope               28:10 44:6
  21,22,24           96:2                 19:19,24           45:8 47:22
  37:17 41:7,       sat                   24:11 44:3         50:17,19
  10,19 58:12        75:5 186:11          64:6 152:6,9       51:14,16
  59:22,23                                168:25             56:22 57:19
                    saying
  61:4 62:7,                             score               77:5,17,24
                     24:14 41:20
  15,19,20                                114:19             78:15,19
                     69:22 101:12
  63:10 74:11,                            159:25             91:17 100:8,
                     112:14 128:9
  13 83:5                                 160:1,2,4,23       10,22 104:2
                     129:22 130:3
 roles                                    161:7 175:12       108:2 110:3
                     131:23 148:9
  35:10 72:8,                            scores              112:5 115:25
                     151:9 176:24
  18                                      107:9              119:14
                    says                                     121:2,7,8
 room                51:17 120:13        screen
  9:24 10:3,7,                            50:16,23           131:10 139:6
                     131:5 132:8,                            157:24
  16 31:20           13 145:3             77:17 113:21
  46:9,25                                 139:6 157:24       158:15
                     172:13                                  159:23
  47:2,5,9,14                            scroll
                    scale                                    163:19,20
  82:15,18                                113:25
                     97:15                                   164:4 177:5
  115:7 179:18                           search
                    scaled                                  seeing
 Rouge                                    131:7
                     126:1                                   47:25 50:20
  60:12,17,19                            second
  61:2              scales                                   78:20 79:2
                     97:14 107:8          18:21 20:16        113:20
 rounding                                 52:4 59:25
                     125:21                                  114:20
  58:11 59:19                             127:9,12
                    scenario                                selection
 rule                                    secondary
                     68:15 172:17                            44:6
  166:14,22                               20:18 114:5
                    scheduled                               selective
 rules                                    115:6
                     151:16                                  128:21 129:8
  7:12                                   section
                    scholar                                 self-limiting
 run                                      51:12,17
                     131:9                                   84:20
  56:12 149:11                            111:24 114:1
                    school                                  self-regulate
 running                                  119:14
                     54:20,24                                23:4,8 109:9
  96:19                                   139:10
                     55:22,23                               send
 runny               57:7,10,18          secure
  151:4                                   34:15,21,24        50:7
                     58:1,2 59:9                            senior
                    schooling             35:7 48:20
                                          61:24 64:11        64:16
                     57:3                                   sense
                    schools              security
                                          111:7              13:2 21:22
                     55:1,2                                  111:1


              U.S. Legal Support | www.uslegalsupport.com                  ·41
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 92 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 senses              17,19,24             158:1             silos
  96:9               61:5,6,22           showed              26:2,7
 sensitivity         62:9,10,14,          80:4              similar
  14:18 22:17        20 63:3,9,23        showing             23:23 85:19
 sentence            65:23 66:12          48:4 50:21         152:2 175:8
  21:6 114:3         74:12 77:23          51:3 77:19        similarities
  117:19             78:25 169:3          78:22 139:8        148:2
  120:13 125:2      serving               158:2 169:7       simply
  126:19             13:25 14:6          shown               95:16
  131:23,25         set                   94:3              single
  154:17,21          16:16 43:21         shuts               89:11 124:11
 separate            175:10               100:20             127:19
  30:12 80:3        sets                 shuttles            185:13
  84:7 85:2          166:17               100:20            singularly
  150:20,25         setting              sickness            116:12
  151:6              35:17 64:11          100:14            site
 Sept                81:24 105:12        side                42:14 48:22,
  173:14             108:17               21:19 50:23        24,25 69:6
 September           147:15,20            72:15 121:14       181:19
  4:4 42:20,24       148:8,10             135:25            sites
  43:1 51:4,23      settings              137:11             69:6
  123:19,20          29:4 58:10           145:21            sitting
  158:12             147:15               160:15             9:17,24,25
  173:17 174:2      seven                 171:22             10:2 11:3
  175:22,25          63:15,20             172:10,20          75:13
  176:11 177:7      several              sides              situation
 serotonin           47:8,11 65:2         160:14             19:3 23:3,4
  128:21            severe               sign                97:5 102:11
  129:3,5,6,8,       100:15               100:12             109:12
  11                 142:3,6,7           signal              140:14
 sertraline         shade                 121:24             141:2,18
  126:23             45:24               signature           151:6
 serve              shake                 50:7,8             154:10,11
  15:10 33:25        8:15                significant         156:8
  63:10 67:9        share                 105:15,23         situations
 served              50:16                114:4 179:15       169:20
  34:5 73:9         short                significant-       sixth
  146:18             154:23              enough              42:20
 serves              155:11               134:21            skepticism
  14:10              156:13 181:7        significantly       163:24
 service            shorter               22:2 118:24       sleep
  60:7 62:16         24:16               silent              156:22
 services           shortly               10:17,18,24       sleeping
  34:20 35:1,        15:12 30:12         silo                151:18
  10,13,22           54:17                26:23 85:10       slight
  37:1 59:19        show                  132:20             113:19
  60:4,5,13,         78:18 157:21


              U.S. Legal Support | www.uslegalsupport.com                  ·42
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 93 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 slip               speak                 152:16             114:4
  5:15               41:11 44:11,         155:15            SPF
 slow                13 49:9,14           165:22,23          180:22
  133:24             88:7 89:17           170:3 172:17       182:1,2
 small               110:11               174:16            spoke
  57:13              122:14 143:2         175:19             38:6 47:8,
 smaller             163:17               184:18             10,13,18
  25:8 60:23        speaking             specifically        48:2,7,17
 smooth              8:19 47:16           13:4 14:14         49:6 76:25
  140:1,5,8,9,       69:9                 16:10,12          sports
  18,24             speaks                18:3 23:7,20       168:11
 society             88:17 161:19         27:13 29:13       spread
  59:13 142:8       special               30:9,13,15         147:4
                     62:25                33:7,15           SSI
 sodium
                    specialist            37:25 38:8         184:8
  145:12                                  40:11 44:20
  149:12             34:24 61:25                            SSRI
                     62:8                 45:12 46:15
 sold                                     47:24 52:16        129:19
  34:19 36:11       specialized                              130:11,18
                     171:9 180:18         63:22 70:16,
 solely                                   19 74:7 79:9       132:7,10,16
  101:21            specific                                 133:3 184:17
                                          80:16 82:4
 solidifying         12:4,5 13:8,         99:14 101:8,      SSRIS
  31:4               16,20 14:2,3                            128:22,24
                                          12 105:11
 solving             15:21,25             110:11             129:13,15,
  63:14              16:3 17:1,6                             22,25 130:2,
                                          111:22,23
                     18:5 26:2            112:11,16          4,9 131:18,
 someone's           29:24 32:16
  89:3 156:4                              123:11 125:6       19 132:1
                     42:3,5               133:20            St
 sooner              43:19,20
  159:5,10                                144:25 148:8       61:6,15,16
                     44:22 46:18          151:7 153:14      stack
 Soong               48:10 49:13
  33:1                                    174:16             156:19
                     53:7 62:1,21         175:3,19          staff
 sort                66:8,9,18,
  46:1,13                                 183:11             30:10,13
                     20,22 67:15,                            31:20
  48:21 69:2         24 68:9             specifics
 sound                                    79:24             stand
                     69:21,25
  8:17,23 9:6        70:13 72:6,         specifies           44:15 63:24
                                          139:16             183:25
 sounds              11 73:19
  7:10 26:25         79:21 80:17,        speed              standpoint
  64:8 93:18         20,21 81:6,          159:14             148:5
 South               9,16 84:13          spell              start
  148:4              88:3,19              5:1                8:20 15:18
                     89:13 97:20         spending            22:1 25:6
 space                                                       37:19 68:22
  64:21,24           112:25 113:1         30:9
                     125:2 126:6,        spent               115:23
 spasm                                                       131:20,23
  24:7,8,9           7 129:25             46:23 47:1
                     131:13               48:13 58:10        136:3 155:17
  25:19
                     148:10               59:18 60:2,6      start-up
 spasms                                                      62:13
                     150:21               61:16 72:5
  18:24


              U.S. Legal Support | www.uslegalsupport.com                  ·43
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 94 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 started            status               stayed             stroke
  36:7 37:4,6,       12:3,6,10,19         44:7 59:25          100:17
  13 45:10           15:23 17:15         step               strong
  49:22 56:4         18:4 22:15,          45:20 110:2         109:25
  57:8 136:3         25 23:1              146:16              149:7,8
 starts              29:22 31:2           159:21 173:7      structure
  58:3               44:7 68:8            174:13              45:24 72:13
 state               80:20,24             177:24              119:22,25
  5:1 11:12,         81:1,2,9,16         steps                149:5
  13,19 15:3         82:7,12              174:9,11,14,        184:11,13
  24:11 25:13,       83:25 84:6,          17                structured
  17,18 62:2         10 85:14,17         stickiness           39:22
  77:21 78:24        86:14,17             118:17            structures
  131:13             87:10,21            sting                62:5 119:19,
  146:20,22          88:10,23             124:13              24 121:17
  147:10,12          89:5,10,21,          155:21 156:1
                     22 90:4,7                              students
  148:4 169:1,                           stinger              59:19
  9,22 170:1,2       97:23 99:25
                     100:1                120:11            studies
 state-                                  stood                115:17,18,21
  85:8               111:19,23
                     112:4,8,17           45:13               116:6,7
 stated                                  stop                 118:16
  16:6,17            114:2,7
                     116:23,25            98:21               131:18,19
  21:19 41:13                            storage              185:4,9,21
  61:23 72:4         124:2,4,12
                     127:25               46:12 47:6          186:4
  89:13 94:5                                                study
                     128:1,2,7,          stored
  117:22 127:3                                                115:9,24
  179:14             11,13,15,19          179:23
                     133:5 135:16        straight             125:25
 statement           136:6,9,13,                              130:23
  10:8,10                                 55:23 67:6
                     16 137:18,23         152:3               131:5,6,20
  21:10,16           138:1 151:2                              137:2
  76:14 82:24                            stratify
                     152:15               142:12            stung
  85:9 120:21,       154:15                                   120:10
  22,25 128:9                            street
                     156:2,6              153:15            subcontractor
  132:13             162:13,18,                               34:11,13
  144:20                                 strenuous
                     22,25 163:2,         109:14            subject
  150:16,21          10 164:19,
  151:12 152:7                           stress               32:20
                     21,24 165:7,                           submitted
 states                                   141:1,18
                     10,14,15,22                              52:7,18
  23:22 26:20        166:4,7,10          stretched
  128:25                                  70:6              subsequently
                     167:12,20                                26:5 65:23
  147:2,5            168:9,14            stretching
  162:4                                   109:21            subset
                     170:18                                   123:15
  169:12,17,         171:8,23            strike
  19,20                                   131:24            subspecialtie
                     172:8,11,16,
 station                                  160:20            s
                     21,22 173:1
  179:21                                  170:14              59:17
                     178:8 185:14
 stations                                strive             substance
                    stay
  179:19                                  106:11              49:8 74:5
                     64:8 95:15


              U.S. Legal Support | www.uslegalsupport.com                  ·44
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 95 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 substance-use       180:22,24            125:20 127:3      sworn
  48:9               181:17,21,23         132:7 133:15       4:17
 sued                182:4,18,21,         139:22            sympathomimet
  75:2               25 183:4,9,          141:11 148:3      ic
 sufficient          14,19 184:1          151:15             150:9,10,15
  18:7 125:17       supplies              153:12,21,25       151:13,24
  185:9              179:6,8              154:22             152:3,8
 suggest             180:10,16,           155:22             153:6
  42:6 154:8         19,25                158:20,22,24      sympathomimet
 suggesting         support               159:21            ics
  42:1 93:18         4:9,13               162:2,22           152:11
                     130:20,21            163:3 168:1       symptoms
 suggests                                 175:3
  160:21             163:7                                   96:24,25
                    suppress              177:16,18          100:25
 suit                                     186:7
  17:9               96:13,23                                152:13,17,21
                     97:7,12 98:1        surgeons            154:20 155:3
 suitable                                 169:13
  9:3               suppressed                               156:10
                     97:13               surgery             163:25
 sum                                      59:16
  161:16            suppressing                             synopsis
                     97:17               surprise            116:5
 summarize                                183:18
  12:11 17:25       suppression                             system
                     97:19               Susi                60:12,20,22
  24:21 89:21                             52:4,7
  93:16 115:25      sure                                     61:7 147:12,
  136:14 167:9       6:13 7:12           sustained           13 169:2
                     12:23 13:3           136:15            systems
 summarized
  19:10,16           16:8 18:2           swear               70:10 146:23
  20:5               21:17 23:15          4:13               147:9 148:4
 summary             30:16 32:14         sweat
  13:9 17:7,8,       33:5,6,12,20         19:2 22:22                 T
  9 19:18,19         34:9 35:8            103:24
  41:9 53:20         36:9,12              108:23 109:1      table
  56:17,18,24        37:7,17              110:8 118:4,       182:9
  115:20             41:3,10 45:9         5,7 120:14,       take
                     47:18 48:10          20,24 121:24       7:2 9:1,3,5
 summer              50:6,10              126:15
  57:10                                                      15:7 25:24
                     53:13 60:11          129:14,17,         44:16,23
 sun                 67:20 68:21          21,24 130:1
  23:7 184:2                                                 45:5 54:7,
                     72:4 79:25           132:9,15,24        12,13,16
 sunblock            81:13 84:13         sweating
  180:22,24                                                  55:23 57:3,
                     87:15 88:14,         18:14 23:5,6       16,17 77:7
  181:17,21,23       15 89:23             97:6,7,13,17
  182:4,17,21                                                87:18 93:22
                     90:10 92:6,          98:21 109:15       96:22 99:17
  183:1,4,15         25 94:1,5,24         113:14
  184:1                                                      101:24
                     96:4,6 99:19        sweep               106:19
 Sung                101:11 102:2         151:8
  91:3                                                       108:11
                     103:15 114:9        swells              111:6,20
 sunscreen           115:8 117:6          120:10             113:2,6
  45:25              122:18


              U.S. Legal Support | www.uslegalsupport.com                  ·45
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 96 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
  115:23            talking              Tennessee           69:15,16
  119:21,23          83:13 87:5           10:2 54:19,        74:21 75:21,
  121:8 124:8        89:2,19 95:6         21,22 59:3         23 76:19
  128:13 131:5       102:19               61:11,19           179:9 180:15
  137:11             106:22               64:17             tetracyclic
  138:11,18          155:15              term                184:10
  148:20             157:22 170:7         11:13,18          thank
  156:15,22         targeted              15:18 23:11        4:22 5:10
  157:10,11          152:16               25:22 30:1         32:24 41:21
  163:5 174:9,      task                  65:2 68:8          45:3 54:6,
  11,15 177:1,       104:14               80:20 84:11        15,16 98:22
  25 181:7          teaching              99:20,22           139:7 153:17
 takeaway            58:11 59:8,          100:15,24          186:23,25
  167:9              19                   101:4,7,8         therapeutic
 taken              team                  102:18 121:4       136:23
  71:20 77:12        19:8 60:15           122:18            therapeutics
  88:4 89:14        teams                 124:20             35:16 36:2
  112:2 132:20       31:13 59:22          144:16             65:4 93:2
  139:1 157:8,                            151:24 152:3      therapy
                    tech                  154:23 156:9
  17 167:6           62:13                                   135:22
  174:17                                  162:17 166:9
                    technical             168:8             thermal
  181:12                                                     110:6 120:16
  182:10             39:5 113:19         terminal
                    technician                               121:24
 takes                                    55:6               154:12
                     4:8
  59:15 161:7                            terminated         thing
  171:23 172:8      techs                 6:21
                     47:4,9,11,13                            18:21 28:17
 taking                                  termination         41:21 46:1,
                     48:2
  39:1 81:10,                             6:19               13 48:21
  17 84:4           tell                 terms
                     6:3 7:25 8:7                            53:18 69:3
  87:25 89:7                              80:7 99:9          70:8 82:25
  102:11 106:7       9:13 31:25           177:8
                     43:25 78:15                             100:7 108:16
  109:15,16,19                           tertiary            111:17
  124:1 128:6,       124:24
                     153:23               114:5 115:7,       143:21 155:4
  10 135:15,                              14                 158:2 177:15
  21,23 136:15       160:11
                     175:14              testified          things
  141:21 142:4                            4:17 33:24         16:24 27:19
  146:16            tells
                     118:5 129:18         53:22 75:16        39:1,7 45:18
  149:22,25                               76:9 81:15         47:20 53:6
  151:8 155:13      temperature           83:10 87:16
                     102:15                                  64:7 68:14
  159:17 165:6                            142:22             69:1,8 82:2
  167:10,21          129:19
                                         testify             84:23,25
  168:4 177:24      ten                   11:22 75:12        93:5 96:22
 talk                77:8                 178:10 183:8       100:16
  20:6 30:11        tend                                     107:15,20
                                         testifying
  44:14 47:4         24:10 144:17         6:23               108:22
  54:8 80:12         147:9,12                                109:18 111:6
                                         testimony
 talked             Tenncare              9:16,18,21         116:17
  76:21              61:10                                   121:11 129:4
                                          20:1 41:9


              U.S. Legal Support | www.uslegalsupport.com                  ·46
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 97 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
  153:25             155:19               125:23             164:1,23
  171:19             157:10,22            159:24             165:25
  176:4,18           159:12,15            160:16             181:10,14
  177:2              164:7,10,11         threshold           182:12
  186:12,14          165:14,20            125:16             186:10,22,25
 think               166:13,14,17         130:14             187:4
  7:9,20 9:8         168:24               178:16            timeliness
  14:10,24           170:11,17           throwing            74:7
  15:8,17            171:21,24            159:14            times
  17:5,6,23          172:9,12,13         thrown              5:25 30:23
  18:2 27:23         174:18,19,25         125:25             38:5,7,10
  28:1,23            175:1,2,4,7,        Thursday            65:3 103:23
  31:20 32:2         18,24 176:14         42:22,24          tired
  37:6,13            177:15 181:7                            26:9
                     183:6               tied
  38:24 40:4,                             85:12             title
  5,6,18             184:12,21                               77:21 79:4
                     186:3               time
  42:20,21,25                                               titled
  43:3,6 44:20      thinking              4:5,12 6:3,
                                          5,17 8:20          51:12 78:24
  48:24,25           92:2 177:5                              114:1 159:25
  49:5 53:20         186:2                9:2,3 20:16
                                          24:16 25:9,       Toce
  56:24 68:21       third
  70:8 71:11,                             14 30:9            33:4
                     53:17 73:18,         34:21,25
  25 73:1 76:3       19 109:2                               today
  80:12,19                                35:7 36:6,8,       4:4,25 5:11,
                    Thomas                10 46:22           17 8:11 9:1,
  82:22 86:16        61:6,15,16
  87:2 88:1,17                            47:1,3 48:13       14,21 19:19
                    thorough              56:10,13           83:14 142:8
  90:1 92:15,        82:19,20
  16 94:14,21                             57:2,11,13        today's
                    thou                  60:6,21            76:13 187:3
  95:19,20,24        166:14
  100:17 101:5                            61:6,10,16        told
                    thought               64:24 65:20,       90:16 108:25
  103:1
  106:11,13          14:15 16:7           22 67:4           tool
                     18:6 26:17           71:17 72:5         94:20 95:5
  111:23 115:8
  116:13             39:6 43:14           73:18,19           110:23
                     49:3 56:9            74:11 76:8,        154:25 162:9
  120:6,16
  121:5,15           94:14 106:12         12,25 77:5,        163:7,8
                     110:17 129:2         6,11,14            164:7
  122:15
  123:19             141:19               83:13 84:21
                     148:18               88:1 93:25        toolbox
  126:14                                                     171:19
  127:16,17          186:16,19            98:6,17
                                          102:16            top
  134:12,13         thoughts
                     20:22 38:1           106:12             95:17 119:6
  135:5,6,17,                                                133:2
                     43:24 175:16         109:14 114:4
  18,19 136:1,                                              topic
  5 138:2,5,16       186:15               124:5 136:15
                    three                 138:25 139:3       54:10 77:4
  142:6                                                     topics
  143:18,19          42:18 46:21          147:8 151:4
                     58:6 75:8,9          152:14             70:5
  145:9 147:7
                     119:7 120:18         155:12            Toss
  148:7 150:8
                     124:13               157:16,19          33:9
  152:6,9


              U.S. Legal Support | www.uslegalsupport.com                  ·47
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 98 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
 total               168:25              tune               ultimate
  57:3 163:3         169:25               47:21              81:11
 tour               treated              turn               ultimately
  33:11,12           25:10 26:7           94:12 95:2         83:2
  46:6 48:18         86:5 127:23         Twice              un-air-
  179:13             128:17               6:2               conditioned
 toured             treating             two                 81:5 104:20
  46:17              97:18 155:20         13:22 16:20       unable
 touring             168:6                19:10 25:4         86:9
  30:9              treatment             31:4,22           undergrad
 track               25:17,25             32:5,12,13         54:19 55:5,
  185:21             61:1 117:7,8         35:15 36:2         12 57:7,18
 tract               141:15               42:18 47:12,      undergraduate
  25:20              171:19               13 53:10           54:23,25
 traditional        trial                 58:10 59:10        55:22
  184:16             19:11,13,16,         62:19 73:16       underlying
 trained             23 20:1              75:7,8             168:7
  37:11 39:20        63:25 74:21          124:12            understand
  72:4 171:13        75:13,16,17          126:11,20          7:17,20 8:1
                     76:9 178:10          133:22             9:13,16
 training
                     183:8                138:17             11:7,14,18,
  20:12,14                                139:17,20,22
  59:5 71:9         trigger                                  21,25 12:2,
                     84:1,4               140:4 154:5        11,14 13:12,
  72:11,16                                159:24 170:8
  168:21 169:4       164:18,21,23                            17 19:9,17,
                     165:21               175:15             20 20:20
  171:1,9
  178:23            true                 two-hospital        21:10 27:14
                     14:2 53:16           60:22              29:6 30:16
 transcribed
  8:11               131:7,22            type                53:8 81:13
                     160:19               23:18 82:2         88:14 92:10
 transcripts
                    truth                 100:12 106:7       103:16
  76:18                                   181:23
 transition          9:13                                    136:17
                    truthful             types               144:23
  155:2
                     9:21                 119:7              159:10 164:8
 transitioned                             139:17,20,23
                    try                                      167:24
  34:25 62:12                             169:5              171:15 172:4
 transitions         8:21 54:17
                     83:4 93:16          typical             174:6
  58:6                                    25:25 29:3
                     131:4                                  understanding
 trap                                    typically           12:2 13:13
  166:17            trying
                     17:5 52:17           25:10 139:13       20:13 22:7
 treat                                    153:20             29:2,3,8,14,
                     83:6 97:1,2
  24:2,7,10,16       104:22               168:18             18,19 31:5
  26:2 86:7                                                  34:4 39:10
                     107:9,13
  94:7,9,10          116:4 127:16                            44:8 46:11
  117:9,10,15                                    U
                     167:24 177:3                            68:22,24
  129:1 133:22                                               69:10,13
  136:24            tubals               U.S.
                     149:5                4:8,13             78:11 79:22
  144:18                                                     80:14,23
  152:13                                                     81:19 83:17,


              U.S. Legal Support | www.uslegalsupport.com                  ·48
Case 3:23-cv-01304-BAJ-EWD      Document 144-5 10/24/24   Page 99 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
  19,20,21,23       unsure                143:2             verapamil
  84:2,3,7           136:4               utilizes            142:9
  85:13 87:12,      update                83:22             verbal
  24 89:22,23        16:4 91:12                              8:14
  90:6,12,18         110:14                                 versus
  91:10 94:23                                    V
                     114:6,23                                4:7 39:21
  105:9             updated                                  72:14 160:8
                                         vacuum
  135:20,24          16:14 31:1,                            vessels
                                          44:10
  154:17             11 38:20                                134:2 140:1,
  162:3,6                                value-based
                     39:20 53:17          70:7               2,6,9
  163:13             103:18                                 vice
  168:20                                 Vanderbilt
                     152:15                                  35:1 37:1
  171:1,3                                 61:9
                     159:3,5                                 74:12
  172:25                                 var-
                    updates                                 video
  174:14                                  64:3
                     92:14 123:17                            4:8
  185:18                                 varied
                    updating                                video-
 understood                               70:14
                     16:11 81:21                            recorded
  8:2 13:11          93:10,24            varies
                                          64:5 105:5         4:3
  17:10 18:9         107:21
  25:23 39:23                             169:21            VIDEOGRAPHER
                    urinary                                  4:2 77:10,13
  41:20 43:2         25:20 109:3         various
  50:9 65:18                              46:4 61:14         138:24 139:2
                    urinate                                  157:15,18
  74:4 153:3                              62:22 63:9
  165:4              109:16                                  181:9,13
                                          65:4,12,14
 unfamiliar         urinating             106:25 107:7       187:3
                     103:23               114:18            videos
  171:20
                    urination             116:14             44:16,25
 unique
  47:20 137:17       144:17 149:9         118:15 135:2      virtual
  165:24            usable                160:7              31:14
  166:16             39:3                vary               visit
 uniquely           usefulness            105:3,4            30:11,12,25
  49:1               22:8                 122:6 136:22       31:6 44:17,
 Unisom             UT                    143:19 147:1       25 47:17
                     157:16               156:25             48:22,24,25
  151:17
                    UTC                  vascular            49:24 108:3
 unit                                                        181:19
  48:9,11,13,        4:5 77:11,14         140:5,18
                     138:25 139:3        vasculature        visited
  20 49:8
                     157:19               140:7,8,15,        13:15 30:20
 United                                                      42:14 43:4,
  147:2,4            181:10,14            25 141:16
                     187:4               Vassallo            6,8,10,16
 units                                                       44:12 45:8
                    utility               52:7,18
  45:11 46:6,                                                46:25 181:24
  7,17,19,21         154:18,22           Vassallo's
                    utilization                              182:6
  48:19 68:2                              13:7 16:17
                     21:23 27:7,          52:4,21,22        visiting
 university                                                  43:12 45:5
  54:19,20           20 28:20             53:1
                     34:23 35:18         vendors            Vistaril
  57:11 59:3,                                                125:7 151:20
  7,8 70:12          38:3 60:8            63:9,10
                     61:25 62:8
  71:12,14,18


              U.S. Legal Support | www.uslegalsupport.com                  ·49
Case 3:23-cv-01304-BAJ-EWD     Document 144-5 10/24/24   Page 100 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
  Voice               46:3                135:8 146:1        138:5 172:3
   4:6               watching             153:2              187:2
  volume              45:20              Wellpath           wondering
   103:24            water                36:20,21           101:9 102:5
  vomiting            45:17,25            37:3,9 63:2,      word
   100:13             149:13              7 66:3,8,12,       11:1 21:6
  VP                  150:1,6             15,19,25           39:18 53:14
   62:10,20          watering             67:7,8,10,         68:7 118:10
   63:2               96:21               12,16 68:12,       166:16
                     way                  17 69:5,9,         184:15
                      26:16 40:24         12,18,19,23,       186:2,3
          W                               25 72:10
                      80:7 82:22                            work
                      83:2 89:6           73:20,22           13:14,16,17
  wake                                    74:4,6,11,14
   156:23             94:21 96:20                            15:24 19:20
                      100:9,10,15         75:2 102:21        29:11,12,14
  walk                                   Wellpath's
                      116:13 129:1                           30:2,18 33:7
   60:9                                   65:25
                      131:20 150:2                           42:12,15
  walking                                went                43:19 44:5,
                      155:22 161:3
   100:21                                 46:16 57:10        8,21 45:11,
                      164:4 165:5
  want                                    62:7 125:23        13,23 46:3,
                     ways
   21:10 26:6                             150:20             15 47:4,9
                      83:7 84:4
   41:11 46:12                            151:21 152:7       48:19 54:5
                      89:2 115:22
   54:16 56:13                            164:12             55:22 56:17
                      134:1 140:23
   67:6,19 68:9                           175:17             61:7 64:20
   81:12 88:13       weather
                      124:15              179:18             66:25 70:11
   109:20                                wide                81:2,3 90:2,
   111:17            week
                      42:19,21,23         64:5 78:10         4 93:20 95:7
   112:13                                                    104:15,17,22
                      77:3 155:1         widely
   126:16                                                    106:7 137:14
                      156:11,12           122:11,18
   138:14                                                    147:14,19,23
                     weeks                134:18 135:3
   140:20 158:1                                              149:4 155:2
   162:25 164:4       42:19              wildly
                                          143:7,10           159:16
   166:19 171:5      weigh                                   177:25 178:2
  wanted              66:19              willingness
                                          15:4              work-duty
   43:18 44:2,       Weiser                                  86:16
   6,11,13,14         4:19,23            windows
                                          10:5,7            worked
   45:13 46:9         32:23,25                               23:11,19
   47:19 56:3         45:3,4 51:7        withstand
                                          155:25             34:9 35:7,21
   131:5 154:3,       77:9,15 92:9                           36:3,15
   23 166:1,6         105:20             witness             37:3,17
   176:23             106:5,21            4:13,16 6:9,       38:15 40:5,6
   186:13,15          138:6,13,16,        12,15 10:8,        43:15 60:15
  warm                21,23 139:4         10,13 11:22        64:14 65:5
   184:23             157:20 172:5        14:7,10            148:4,6
  warrant             181:15              15:11 33:25        149:2,15
   172:18 185:9       183:23              72:1 73:9
                      186:21,25           76:14 85:9        working
  watch                                                      12:17 13:12
   44:15 45:21       well-reported        91:25 105:19
                                          106:2,11           14:14 15:16


               U.S. Legal Support | www.uslegalsupport.com                 ·50
Case 3:23-cv-01304-BAJ-EWD     Document 144-5 10/24/24   Page 101 of 101
                             Deleca Reynolds-Barnes
                               September 27, 2024
   36:10,13           59:24,25
   40:12 49:10,       60:2 92:17
   15 60:14          years
   61:8,14,18         7:11 20:11
   62:1,22            23:20 26:10
   81:20              37:2 40:9
   105:11,16,21       43:15 57:2,
   108:17             6,8,13,14,
   109:13             15,17,18
   131:20 135:2       58:10 59:10
   143:12             62:19 70:14
   147:19 150:7       71:8 72:17
   156:16             75:8,9
   180:11,20          91:19,21
   182:5,22           137:7 148:3
   183:1,4,15,       yellow
   20 184:2           176:21
  works              young
   68:25 102:21       56:4,5
   131:14
  world
   137:5                       Z
  wrap               zero
   181:8              103:19
  write               118:21,23
   69:18 72:8         125:23 126:7
   152:14             159:24
  writing             160:11,12,22
   43:22 180:14       161:11,16
  wrong              zoom
   93:18              9:24 10:6,12
  wrongful            31:13 51:15
   6:19              Zyrtec
  wrote               120:5 121:8
   114:4 116:22       126:23,24
   117:19             127:25
   122:20 141:6       128:6,10,11
   145:11             155:1 156:11
                     Zyrtecs
          Y           125:12

  Yeah
   45:2 55:10
   56:22 77:7
   172:6 173:4
  year
   7:2,8 58:6


               U.S. Legal Support | www.uslegalsupport.com                 ·51
